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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

B.F., a minor child, through his parents, )
MELANIE FIGUEROA and COLIN                )
FIGUEROA, as mother and father/parents    )
of the minor child, B.F., and             )
in their individual capacity, and         )
                                          )
C.B., a minor child, through his parents, )
ASHLEY BERNAUER and DANIEL                )
BERNAUER, as mother and father/parents )
of the minor child, C.B., and             )
in their individual capacity,             )
                                          )
       Plaintiffs,                        )
vs.                                       )              CASE NO: 3:23-cv-03903-JW
                                          )
SANTA ROSA COUNTY SHERIFF’S               )
DEPARTMENT; BOB JOHNSON in                )
his official capacity as Sheriff of Santa )
Rosa County; DAVID DANIELS,               )
in his individual capacity; CAMELOT       )
SCHOOLS OF FLA., LLC d/b/a HIGH           )
ROAD SCHOOL OF SANTA ROSA;                )
and SCHOOL BD OF SANTA                    )
ROSA COUNTY.                              )
                                          )
       Defendants.                        )
                                          )



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                        FIRST AMENDED COMPLAINT

       COME NOW Plaintiffs, B.F., a minor child, by and through his parents,

MELANIE FIGUEROA and COLIN FIGUEROA (hereinafter referred to as M.F.

and C.F.), in their parental capacity and in their individual capacities as noted herein

(collectively referred to as B.F. Plaintiffs), and C.B., a minor child, by and through

his parents ASHLEY BERNAUER and DANIEL BERNAUER (hereinafter referred

to as A.B. and D.B.), in their parental capacity and in their individual capacities as

noted herein (collectively referred to as C.B. Plaintiffs), by and through undersigned

counsel, hereby file this Complaint against Defendants, BOB JOHNSON in his

official capacity as Sheriff of Santa Rosa County; DAVID DANIELS, in his

individual capacity; SANTA ROSA COUNTY SHERIFF’S DEPARTMENT;

CAMELOT SCHOOLS OF FLORIDA, LLC d/b/a HIGH ROAD SCHOOL OF

SANTA ROSA; and SANTA ROSA COUNTY SCHOOL BOARD, and states as

follows:

                                  INTRODUCTION

1.    Plaintiffs bring this lawsuit to address Defendants’ unlawful behavior in



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      manhandling, handcuffing, and Baker Acting their children, in violation of

      Plaintiffs’ rights under the U. S. Constitution and the Americans with

      Disabilities Act.

2.    Plaintiff, B.F., is a minor child with disabilities and was in the 2nd

      grade at CAMELOT SCHOOL d/b/a/ HIGH ROADS SCHOOL, a

      company that is operating a public school located in Santa Rosa

      County, Florida. The minor Plaintiff, B.F., shall hereinafter be referred

      to as “LITTLE B”.

3.    On December 8, 2021, Defendants unlawfully, forcibly, and physically

      restrained LITTLE B, an eight-year-old boy whom they unnecessarily

      manhandled and handcuffed at school by and through public

      employees and agents assigned to the Plaintiff’s school. School

      personnel and law enforcement officers of BOB JOHNSON, sheriff and

      SANTA ROSA COUNTY SHERIFF’S DEPARTMENT then forcibly

      removed LITTLE B from the school.




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4.    Plaintiff, C.B., is a minor child with disabilities and was in the 4th

      grade at CAMELOT SCHOOL d/b/a/ HIGH ROADS SCHOOL, a

      company that is operating a public school located in Santa Rosa

      County, Florida.

5.    On November 10, 2021, Defendants unlawfully, forcibly, and

      physically    restrained     C.B.,     a   ten-year-old    boy    whom      they

      unnecessarily manhandled and handcuffed at school by and through

      public employees and agents assigned to the Plaintiffs’ school. School

      personnel and law enforcement officers of BOB JOHNSON, sheriff and

      SANTA ROSA COUNTY SHERIFF’S DEPARTMENT then forcibly

      removed C.B. from the school.

6.    Because of “LITTLE B” and C.B.’s small size and physical frailties,

      the handcuffs were not designed for them, resulting in the law

      enforcement officer handcuffing them contrary to guidance on the

      safe use of handcuffs for persons being detained/arrested under the

      Baker Act.


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7.    On no occasion was there any imminent danger of serious physical

      harm to the respective children or anyone else that required the

      children to be restrained and handcuffed in a fashion that would result

      in the child suffering injury from the restraint and handcuffs.

8.    As a result of being subjected to unnecessary and excessive

      handcuffing and as a result of LITTLE B and C.B. being forcibly

      removed from the school by SHERIFF’s Deputies while handcuffed

      and being Baker Acted, Plaintiffs experienced pain, fear, and

      emotional trauma, and an exacerbation of their disabilities that will

      stay with them for the rest of their lives.

9.    Plaintiffs seek permanent injunctive relief to prohibit Defendants from

      authorizing or employing the unnecessary and excessive use of physical

      restraint and handcuffing school children, and the unnecessary seclusion of

      children, including those with disabilities, and to compel Defendants to

      revise their policies, practices, and training accordingly. Plaintiffs further


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     seek an order declaring Defendants' conduct to be unconstitutional and to be

     in violation of the American with Disabilities Act. Plaintiffs also seek

     compensatory damages, punitive damages when available, and reasonable

     attorneys' fees and costs, as noted below.

                         JURISDICTION AND VENUE

10. This Court has the authority to issue declaratory relief, injunctive relief, and

     other relief pursuant to the federal Declaratory Judgment Act, 28 U.S.C. §§

     2101-2102.

11. This Court has subject matter jurisdiction over this action pursuant to 28

     U.S.C. §§ 1331 & 1334(3), (4), to hear Plaintiff’s constitutional claims

     brought under 42 U.S.C. § 1983 and Plaintiff’s disability discrimination

     claims brough under the American with Disabilities (ADA), 42 U.S.C.

     §12132 et seq., and Section 504 of the Rehabilitation Act.

12. Pursuant to 28 U.S.C. §1391(b), venue is proper in this judicial district

     because the events giving rise to this action occurred in Santa Rosa County,


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       Florida.

                                    THE PARTIES

13.    LITTLE B was, at the time relevant to this lawsuit, an eight-year-old boy

       enrolled as a student in the School District of Santa Rosa County. He is a

       student with a disability and qualifies for Exceptional Student Education

       (ESE) under the exceptionalities of Autism Spectrum Disorder, Disruptive

       Mood Dysregulation Disorder, and Attention-Deficit/Hyperactivity Disorder.

       He is a person with a disability protected by the Americans with Disabilities

       Act.

14.    Plaintiffs, M.F. and C.F., are LITTLE B’s mother and father. They bring this

       suit as his parents and guardians and on their own behalf as noted herein.

15.    C.B. was, at the time relevant to this lawsuit, a ten-year-old boy enrolled as a

       student in the School District of Santa Rosa County. He is a student with a

       disability and qualifies for Exceptional Student Education (ESE) under the

       exceptionalities of Autism Spectrum Disorder, Attention-Deficit Disorder




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       Attention-Deficit/Hyperactivity Disorder, and insomnia. He is a person with

       a disability protected by the Americans with Disabilities Act.

16.    Plaintiffs, A.B. and D.B., are C.B.’s mother and father. They bring this suit as

       his parents and guardians and on their own behalf as noted herein.

17.    Defendant SCHOOL BOARD OF SANTA ROSA COUNTY (School

       Board) is the board of education governing the School District of Santa Rosa

       County (SRCSD), the public school system for all of Santa Rosa County,

       Florida.

18.    The SCHOOL BOARD is a public agency for the State of Florida, and a

       public entity purpose of Title II of the ADA.

19.    Defendant BOB JOHNSON (SHERIFF or JOHNSON) is the duly elected

       Sheriff of Santa Rosa County authorized under the laws of Florida. The

       Sheriff is responsible for supervision of Santa Rosa County Sheriff’s

       deputies and is also responsible for developing policies and procedures for

       the employees of Santa Rosa County Sheriff’s Department. BOB JOHNSON


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       is being sued in his official capacity as Sheriff of Santa Rosa County Florida.

20.    Defendant, SANTA ROSA COUNTY SHERIFF’S DEPARTMENT

       (SHERIFF’S DEPARTMENT) is the law enforcement agency for Santa

       Rosa County, Florida and is a public entity for purposes of Title II of the

       ADA.

21.    Defendants SHERIFF’S DEPARTMENT and SHERIFF are charged with

       the responsibility of establishing policies, practices, and training for School

       Resource Officers and law enforcement officers assigned to a public school.

22.    Despite the provisions of federal and state law, Defendants SHERIFF’S

       DEPARTMENT and SHERIFF are aware that mechanical restraints have

       been used against elementary aged school children, including school children

       with disabilities, by School Resource Officers and law enforcement

       personnel under their supervision. Defendants SHERIFF’S DEPARTMENT

       and JOHNSON have permitted and, upon information and belief, authorized

       School Resource Officers and law enforcement officers to use mechanical

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       restraints in such a way as to constitute excessive force in restraining

       elementary school children with disabilities, including the unlawful use of

       handcuffs with excessive force and without necessity.

23.    The SCHOOL BOARD has an agreement with the SANTA ROSA

       COUNTY SHERIFF’S DEPARTMENT and Defendant JOHNSON, or

       otherwise contracts for services with the SANTA ROSA COUNTY

       SHERIFF’S DEPARTMENT, specifically, for the presence of School

       Resource Officers in Santa Rosa County public schools. See Exhibit A.

24.    Defendant CAMELOT SCHOOLS OF FLORIDA, LLC d/b/a High Road

       School of Santa Rosa (CAMELOT) is a school operating under the authority

       of or in conjunction with the SCHOOL BOARD.               See Exhibit F.

25.    CAMELOT is an alternative school in Santa Rosa County for which the

       SCHOOL BOARD contracts to provide an emotional support/therapeutic

       education program for certain of The School Board’s exceptional students

       and other students with behavioral issues and emotional issues.

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26.    Defendant DAVID DANIELS is a former law enforcement officer who was

       employed by the JOHNSON and SHERIFF’S DEPARTMENT and at all

       material times he was working as a School Resource Officer stationed at

       CAMELOT. He seized and initiated an involuntary examination of LITTLE

       B and C.B. under the Baker Act in violation of clearly established law and

       has since been terminated from the SHERIFF’S DEPARTMENT.

                          FACTUAL BACKGROUND

27.    During the 2021-22 school year, Plaintiff, LITTLE B, was 8 years old and

       enrolled in the Second grade at CAMELOT in the Santa Rosa County School

       District. He stood about 4 foot 3 inches tall and weighed about ninety pounds.

28.    LITTLE B was diagnosed with Autism Spectrum Disorder, Disruptive

       Mood Dysregulation Disorder, and Attention-Deficit/Hyperactivity Disorder,

       all developmental disorders. Because of his conditions, LITTLE B has

       difficulty staying focused, paying attention, controlling behavior,

       complying with directives, and remaining seated, and is substantially


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       limited in one or more major life activities, including learning and

       neurological/brain functions. These limitations were known or should

       have reasonably been known to Defendants.

29.    During the 2021-22 school year, Plaintiff, C.B. was 10 years old and enrolled

       in the Fourth grade at CAMELOT in the Santa Rosa County School District.

       He stood about 4 foot 11 inches tall and weighed about one hundred and

       nineteen pounds.

30.    C.B. was diagnosed with Autism Spectrum Disorder, Attention-Deficit

       Disorder, and Attention-Deficit/Hyperactivity Disorder, all developmental

       disorders. Because of his conditions, C.B. has difficulty staying focused,

       paying attention, controlling behavior, complying with directives, and

       remaining seated, and is substantially limited in one or more major life

       activities, including learning and neurological/brain functions. These

       limitations were known or should have reasonably been known to

       Defendants.



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31.    During the 2021-2022 school year, personnel with JOHNSON, SHERIFF

       DEPARTMENT, CAMELOT, and the SCHOOL BOARD were aware that

       Plaintiffs, LITTLE B and C.B., had been diagnosed with Autism Spectrum

       Disorder, Attention-Deficit Disorder, and Attention-Deficit/Hyperactivity

       Disorder, and/or otherwise suffering from a disability.

32.    As of December 8, 2021, DANIELS knew that LITTLE B had been diagnosed

       with autism spectrum disorder, Disruptive Mood Dysregulation Disorder, and

       Attention-Deficit/Hyperactivity Disorder, and/or otherwise suffering from a

       disability.

33.    As of November 10, 2021, DANIELS knew that C.B. had been diagnosed

       with autism spectrum disorder, Disruptive Mood Dysregulation Disorder,

       Attention-Deficit/Hyperactivity Disorder and/or otherwise suffering from a

       disability.

              A.     The Baker Act

34.    Florida has a statutory process for the involuntary hospitalization of people

       who pose a real and present threat of substantial harm to their well-being; and



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       it is not apparent that such harm may be avoided through the help of willing

       family members or friends or other services. However, each of the Defendants

       use this procedure against children, particularly in schools, at an alarming rate.

35.    The Baker Act utilizes the same criteria for involuntary examination of youth

       as it does for adults:

                  (1)   CRITERIA. —A person may be taken to a
                  receiving facility for involuntary examination if there
                  is reason to believe that the person has a mental illness
                  and because of his or her mental illness:
                     (a)1. The person has refused voluntary examination
                     after conscientious explanation and disclosure of
                     the purpose of the examination; or
                     2. The person is unable to determine for himself or
                     herself whether examination is necessary; and
                     (b)1. Without care or treatment, the person is likely
                     to suffer from neglect or refuse to care for himself
                     or herself; such neglect or refusal poses a real and
                     present threat of substantial harm to his or her well-
                     being; and it is not apparent that such harm may be
                     avoided through the help of willing family members
                     or friends or the provision of other services; or
                     2. There is a substantial likelihood that without care
                     or treatment the person will cause serious bodily
                     harm to himself or herself or others in the near
                     future, as evidenced by recent behavior.

              Fla. Stat. § 394.463(1)

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36.      While courts and some medical and mental health professionals are also

         authorized by the Baker Act to initiate involuntary examinations, police

         officers initiate the vast majority of examinations that begin while a child is

         in school.1

37.      Considering the reduced requirements to initiate involuntary examinations,

         law enforcement officers should and/or do have a greater responsibility to

         assure that the statutory requirements to Baker Act an individual are satisfied.


1 Initiation by a police officer provides the fewest procedural protections under the
statute. When the court initiates an involuntary examination, it must “enter an ex
parte order stating that a person appears to meet the criteria for involuntary
examination and specifying the findings on which that conclusion is based,” and the
order “must be based on written or oral sworn testimony that includes specific facts
that support the findings.” Fla. Stat. § 394.463(2)(a)1. When a medical or mental
health professional initiates an involuntary examination, they must “execute a
certificate stating that he or she has examined a person within the preceding 48 hours
and finds that the person appears to meet the criteria for involuntary examination
and stating the observations upon which that conclusion is based.” Fla. Stat. §
394.463(2)(a)1. In both cases, a police officer will then take the person into custody
and transfer them to a receiving facility only if “other less restrictive means, such as
voluntary appearance for outpatient evaluation, are not available.” Fla. Stat. §
394.463(2)(a)1.-3. In contrast, for a police officer to initiate an involuntary
examination, the only statutory requirement is to “execute a written report detailing
the circumstances under which the person was taken into custody.” Fla. Stat. §
394.463(2)(a)2
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38.    Once sent for an examination, children can wait without their parents for hours
       or days in a psychiatric facility, also known as a “receiving facility,” for an
       examination by a clinician. The Baker Act permits children to be held for up
       to 12 hours, including overnight, before this examination even begins. The
       receiving facility has up to 72 hours to complete this examination, after which
       the facility must either release the child or seek a court hearing for longer-

       term detention.
39.    The practice of an involuntary examination identified in Fla. Sta. §394.463 is
       so common that it has become a verb: a person detained for involuntary
       examination is often referred to as having been “Baker Acted.”
40.    In practice, because children are not expected to care for themselves, school

       resources officers in Santa Rosa County generally rely on section (b)(2) of the

       Baker Act when initiating an involuntary examination of a child. Under this

       provision, the Baker Act is appropriate and legal only when “there is reason

       to believe that a person has mental illness and because of his or her mental

       illness . . . [t]here is a substantial likelihood that without care or treatment the

       person will cause serious bodily harm to himself or herself or others in the

       near future. “(emphasis added).

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41.    The definition of mental illness under the Baker Act is ““Mental illness”

       means an impairment of the mental or emotional processes that exercise

       conscious control of one’s actions or of the ability to perceive or understand

       reality, which impairment substantially interferes with the person’s ability to

       meet the ordinary demands of living,” and explicitly excludes developmental

       disabilities. Fla. Stat. § 394.455(29).

       a)    Involuntary commitment of people with developmental disabilities,

             including ASD, is addressed by a different statute, Fla. Stat. § 393.11,

             which only allows involuntary confinement by “the circuit court of the

             county in which the person resides has jurisdiction”, only after initiated

             by the filing of a petition, only after notice, and only after examination

             by an examining committee.

       b)    Moreover, “The person who has the intellectual disability or autism

             must be represented by counsel at all stages of the judicial proceeding.”

42.    For purposes of the Baker Act, “Serious bodily harm” is “[s]erious physical

       impairment of the human body; esp., bodily injury that creates a substantial



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       risk of death or that causes serious, permanent disfigurement or protracted loss

       or impairment of the function of any body part or organ.” Black’s Law

       Dictionary (11th ed. 2019).

43.    The Baker Act also includes a section specifically enumerating the rights of

       persons seized under the authority of the Baker Act, referred to as “patients.”

       Fla. Stat. § 394.459. “The right to individual dignity” is the very first right set

       forth. Fla. Stat. § 394.459(1).

       a)    This provision states that, “It is the policy of this state that the

             individual dignity of the patient shall be respected at all times and upon

             all occasions, including any occasion when the patient is taken into

             custody, held, or transported.” Id.

       b)    This provision prohibits “Procedures, facilities, vehicles, and

             restraining devices utilized for criminals or those accused of crime shall

             not be used in connection with persons who have a mental illness,

             except for the protection of the patient or others.” Id.




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       c)    By its terms, Fla. Stat. §394.495 prohibits placing Baker Acted children

             in handcuffs and prohibits them from being transported in marked

             patrol cars used for transporting those accused of crimes, “except for

             the protection of the patient or others.” Id.

44.    Law enforcement officers working for JOHNSON, SANTA ROSA
       SHERIFF’S DEPARTMENT, and at the schools in Santa Rosa County
       remove children from their classrooms, handcuff them, and drive them away
       in the back of police cars like common criminals because of a written or

       unwritten standard practice. Although these minor students are treated the
       same as criminals, they are never charged with a crime and often do not pose
       a danger of serious bodily injury to themselves or others.
45.    JOHNSON’s officers automatically, and as a matter of course and practice,
       determines these children are a threat to themselves or others, has them
       handcuffed, and takes them to a psychiatric facility for involuntary psychiatric
       examination in a marked patrol car.
46.    Though these law enforcement officers working for JOHNSON, SHERIFF’S
       DEPARTMENT and working at the schools in Santa Rosa County Schools,
       have limited or no mental health training, they are nonetheless vested with the


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       power to subject children to involuntary psychiatric examination, pursuant to
       the Florida Mental Health Act, Fla. Stat. §§ 394.451-.47892, known as the
       Baker Act. The decision to Baker Act minor students is routinely made
       without parents’ input, consent, or prior knowledge and without having
       received proper training.
47.    Most of these children do not need or benefit from involuntary examination,

       as they do not suffer from a mental illness and/or do not pose a real and present
       threat of substantial harm to his or her well-being; and that such harm could
       be avoided through the help of willing family members or friends or the
       provision of other services.
48.    Rather than help, Baker Acted children end up deeply traumatized by the
       experience of being manhandled, handcuffed, paraded in front of their peers,
       thrown in the back of a police vehicle, and involuntarily brought to a mental
       health institution where they are promptly discharged/released prior to
       admission.
49.    Often, law enforcement officers working for JOHNSON, SANTA ROSA
       SHERIFF’S DEPARTMENT, and those working for other law enforcement
       departments use the Baker Act statute to manage behavioral issues they are
       not trained to recognize, deescalate, or properly address.

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50.    Since 2014, the number of involuntary examinations of children under the age
       of eighteen (18) has increased by almost three times the rate of examinations
       of people over the age of 65.
51.    In the 2016-17 school year, children in the State of Florida were seized for
       involuntary examination under the Baker Act 32,763 times. Of those children,
       at least 22 percent, and likely significantly more, were taken directly from

       their schools. Data on involuntary examinations initiated at schools has not
       been reported in all subsequent years, but, in the most recent reporting year,
       2018-2019, Florida children were examined under the Baker Act 37,882
       times. See Exhibit B
52.    In 2017-2018, over 46% of all involuntarily examinations were initiated by
       law enforcement officers.
53.    Despite being aware of their inappropriate overuse of the Baker Act for years,
       the Defendants maintain their policies and practices and have done little to
       eliminate unnecessary Baker Act use or to properly train their personnel or
       contractors on alternatives.
54.    The Defendants’ published Baker Act policy, as well as their meager training
       materials, are full of omissions and inaccuracies about the statute’s
       requirements and provide little guidance about when initiating an involuntary

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       examination of a child would be appropriate. They also do little or nothing to
       explain to staff that using the Baker Act in non-emergency situations is far
       more likely to traumatize children than to help them.
55.    The Defendants have failed to take even basic, affirmative steps that could
       eliminate unlawful Baker Act use, like reviewing uses of the Act after the fact
       to determine if they were lawful, tracking and monitoring the data it already

       possesses about Baker Act use, requiring specialized CIT officers review all
       “Baker Act’s”, and intervening when schools or employees use it
       disproportionately often.
56.    The Defendants have also unlawfully failed to allow parents, who have the
       best knowledge of and legal right to make decisions regarding their children’s
       mental health, to decide if involuntary psychiatric hospitalization is
       appropriate.
57.    Further, the Defendants have failed to use the numerous mental health
       professionals they employ or that are available to them as employed by the
       School Board to make determinations regarding use of involuntary
       examination, instead entrusting those decisions to police officers who lack the
       fundamental mental health training, education, and experience.
58.    Addressing these failures and employing other basic interventions are

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         necessary to end the Defendants systematic abuse of involuntary psychiatric
         examination of the students in its care and unnecessary abduction of innocent
         children to traumatic psychiatric facilities.
59.      According to the Florida Department of Education, 14% of the students in the

         Santa Rosa County School District have disabilities under the Individuals with

         Disabilities Education Act (IDEA).2

                B. Unnecessary Involuntary Psychiatric Hospitalization Is Deeply
                   Harmful To Children And Their Families

60.      The unnecessary use of involuntary examination through the Baker Act puts

         children and their families at significant risk of long-term and serious

         psychological harm. As a result of being subjected to involuntary

         examination under the Baker Act, children may experience new or

         exacerbated post-traumatic stress, general anxiety, separation anxiety,

         depression, humiliation, and emotional withdrawal.

61.      Being subjected to unnecessary involuntary examination through the Baker

         Act risks significant harm to children in multiple ways. Children experience


2
    2019 Santa Rosa LEA Profile (fldoe.org)
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         harm from the actions of school police in restraining them with handcuffs

         and/or hobble restraints, removing them from school, and transporting them

         to a Baker Act receiving facility. Children experience harm from being

         removed from their families. Children experience harm from being subjected

         to the unnecessarily restrictive environment of the receiving facility.

         Moreover, children experience harm from lost instructional time and a loss of

         school connectedness.

62.      Children who have been handcuffed or placed in hobble restraints—forms of

         mechanical restraints—put in the back of a police car, and taken to a

         psychiatric hospital are understandably and virtually inevitably traumatized

         by the experience.3




3 See Statement of Interest of the United States, S.R. et al. v. Kenton County et al.,
no. 15-cv- 00143-WOB-JGW (2015), ECF no. 32 (Collecting cases for the
proposition that “[h]andcuffing a young child, particularly a child with a disability,
constitutes an extraordinary intrusion” and “[s]uch interactions are fraught with the
potential for lasting trauma and damage.”) (observing that children with mental
health and other disorders are at especially high risk for death or serious injury
from the use of restraints).
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63.      The use of restraints, including mechanical restraints, has been found to

         subject children, especially children with disabilities, to a high risk of harm.4

         Compared to children who are not handcuffed during an encounter with

         police, children who are handcuffed by police report significantly higher

         emotional distress during the interaction, and social stigma and post-traumatic

         stress afterwards.5

64.      This trauma is compounded when children arrive at a receiving facility, where

         they must wait hours or days for examination in a locked jail-like facility—

         indeed, some children refer to their time in Baker Act facilities as when they

         were “in jail.” In this unfamiliar place, they often spend a night or more away

         from their parents for the first time in their lives. Sometimes they are not even

4
  See General Accounting Office, Improper Restraint or Seclusion Use Places
People at Risk, (Sept. 1999), https://www.gao.gov/products/hehs-99-176; U.S.
Department of Educ., Restraint and Seclusion: Resource Document, at 12 (May
2012), http://www.ed.gov/policy/seclusion/restraints-and-seclusion-resources.pdf
(recommending that “[s]chools should never use mechanical restraints to restrict a
child’s freedom of movement”).
5
  See Jackson et al., Police Stops Among At-Risk Youth: Repercussions for Mental
Health, Journal of Adolescent Health 65 (2019) 627-632,
https://www.amostbeautifulthing.com/wp- content/uploads/2020/01/Police-Stops-
Among-At-Risk-Youth-Repercussions-for-Mental- Health.pdf.
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         allowed to talk to their parents for days, and in-person visitations are regularly

         limited to once a week.

65.      The conditions within psychiatric facilities have been found to traumatize

         individuals. In one of the most comprehensive studies of experiences in

         psychiatric facilities, researchers found that patients experienced physical

         assault and sexual assault at high rates in mental health facilities, and most

         witness traumatic events while there.6 Other studies have similarly found that

         the majority of individuals in mental health facilities experience trauma

         victimization and that almost half suffer from post-traumatic stress disorder

         as a result of their experiences in the psychiatric facility itself.7 These

         experiences can be especially damaging or retraumatizing for patients in




6 See B. Christopher Frueh, et al., Special Section on Seclusion and Restraint:
Patients' Reports of Traumatic or Harmful Experiences Within the Psychiatric
Setting, 56 Psychiatric Services 1123-1133 (2005), https://ps.psychiatryonline.
org/doi/pdfplus/10.1176/appi.ps.56.9.1123.
7
  See Karen J. Cusack, et al., Trauma Within the Psychiatric Setting: A Preliminary
Empirical Report, 30 Administration and Policy in Mental Health 453-460 (2003).
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         psychiatric facilities who may already be vulnerable or have experienced past

         trauma.8

66.      Childhood traumatic stress can have significant and lasting effects on a child’s

         development. It can impact a child’s physical and mental development, make

         it more difficult to learn and focus, and impact a child’s way of thinking about

         the world around them and their own future.9

67.      Receiving facilities are not equipped to provide treatment for ongoing

         psychiatric conditions. Involuntary examination is intended only to provide

         emergency stabilization of people in genuine psychiatric crises that pose a risk

         to themselves or others and to determine if longer-term institutionalization is

         necessary for that same purpose. Even if a child has a serious mental illness

         that is not responding to existing treatment, involuntary examination is not

         beneficial unless it serves these goals. Indeed, facilities often provide little or



8
 See Frueh et al., n. 8 above.
9 See The National Child Traumatic Stress Network, What is Child Traumatic
Stress?, (2003),
https://www.samhsa.gov/sites/default/files/programs_campaigns/childrens_mental_h
ealth/what- is-child-traumatic-stress.pdf
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          no therapy and are often unable to administer children medications they have

          already been prescribed and need.

68.       Research on children subjected to involuntary examination has shown that

          children learn from the experience that if they are open with adults about their

          thoughts and emotions, including normal feelings of sadness, they will be

          punished and taken away from their parents.10 This lesson makes it less likely

          that children will be willing to engage in future mental health treatment or

          counseling, or that children will be honest about any true mental health

          concerns. Id.

69.       The use of the Baker Act also results in missed school time. This includes the

          time that the child is transported by the police officer to the receiving facility

          and held at the receiving facility pending involuntary examination. It may also

          include time that the child must spend out of school dealing with the

          aftereffects of the Baker Act. Parents and children may be understandably



10See Jones, N., Gius, B.K., Shields, M. et al., Investigating the impact of
involuntary psychiatric hospitalization on youth and young adult trust and help-
seeking in pathways to care, Soc Psychiatry & Psychiatric Epidemiol (2021).
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          reluctant to return the child to school given their memories of the traumatic

          Baker Act experience and when facing the possibility of another involuntary

          examination, resulting in further delays. Instructional time is critical to student

          achievement,11 and this educational disruption can ultimately result in school

          transfer, lower grades,12 dropped classes, and/or being placed on a lower

          academic track.

70.       The unnecessary use of involuntary examination under the Baker Act also

          risks harm to students’ school connectedness, students’ belief that adults

          within the school care about them and their educational progress.13 That sense

          of connectedness is critical to protect against a number of risk factors for poor

          academic and life outcomes. School connectedness functions as a critical



11 See M. Karega Rausch & Russell J. Skiba, The Academic Cost of Discipline: The Relationship
Between Suspension/Expulsion and School Achievement 6 (2006),
http://www.agi.harvard.edu/Search/download.php?id=45.
12 See Aaron Kupchik, Things are Tough All Over: Race, Ethnicity, Class and School Discipline,

11 Punishment & Society 291, 307, (2009), http://www.suspensionstories.com/wp-
content/uploads/2010/10/things-are-tough-all-over.pdf (finding that lost instructional time served
to aggravate students’ academic deficits because they fell further behind their classmates).
13 See Centers for Disease Control and Prevention, School Connectedness: Strategies for

Increasing Protective Factors Among Youth 3 (2009),
http://www.cdc.gov/healthyyouth/adolescenthealth/pdf/connectedness.pdf.

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          factor in supporting academic achievement for economically disadvantaged

          students and also protects against health risks that reduce students’ focus on

          academics and achievement.14 Students with high degrees of school

          connectedness are less likely to attempt suicide15 or engage in violent

          behavior.16 For students to feel connected to a school community, they must



14 See Bronwyn E. Becker & Suniya S. Luthar, Social-Emotional Factors Affecting
Achievement Outcomes Among Disadvantaged Students: Closing the Achievement
Gap,           37          Educ.        Psychologist         197-214         (2002),
http://www.ncbi.nlm.nih.gov/pmc/articles/PMC3523355/; Dorian Wilson, The
Interface of School Climate and School Connectedness and Relationships with
Aggression and Victimization, 74 Journal of School Health 293, 298 (2004),
available at http://www.jhsph.edu/departments/population-family-and-reproductive-
health/_archive/wingspread/Septemberissue.pdf.
15 See CDC, School Connectedness, n. 15, above; Bronwyn E. Becker & Suniya S.

Luthar, Social-Emotional Factors Affecting Achievement Outcomes Among
Disadvantaged Students: Closing the Achievement Gap, 37 Educ. Psychologist 197-
214 (2002), http://www.ncbi.nlm.nih.gov/pmc/articles/PMC3523355/; Dorian
Wilson, The Interface of School Climate and School Connectedness and
Relationships with Aggression and Victimization, 74 Journal of School Health 293,
298       (2004),      http://www.jhsph.edu/departments/population-      family-and-
reproductive- health/_archive/wingspread/Septemberissue.pdf.
16
   See id.; see also Richard F. Catalano et al., The Importance of Bonding to School
for Healthy Development: Findings from the Social Development Research Group,
74 Journal of School Health 252, 256, 259 (2004),
http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.464.4284&rep=rep1&ty
pe=pdf.
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          perceive school authorities to be caring and fair.17 A school’s unnecessary

          reliance on school police undermines this perception:18 negative interaction

          with school police has been found to damage students’ views of teachers’

          authority.19

71.       In 2009, the U.S. Government Accountability Office (GAO) published a

          nationwide study documenting hundreds of alleged incidents of restraint



17 See Jaana Juvonen, RAND, School Violence: Prevalence, Fears and Prevention,
3 (2001), http://www.rand.org/pubs/issue_papers/IP219.html (conclu ing that the
presence of police on campus can “breed a sense of mistrust among students”);
Adena M. Klem & James P. Connell, Relationships Matter: Linking Teacher
Support to Student Engagement and Achievement, 74 J. of Sch. Health 262, 266
(2004),
http://www.fifeschools.com/fhs/documents/RelationshipsMatterLinkingTeacherSup
porttoStudentEngagementandAchievement.pdf; Catalano et al., n. 17, above
18
   Juvonen, n. 19 above.
19
   See Arrick Jackson, Police-school Resource Officers’ and Students’ Perception of
the Police and Offending, 25 Policing: Int’l J. Police Strategies & Mgmt. 631, 634
(2002) (finding that officers’ presence on school campuses posed obstacles for free
and open learning environments by damaging students’ view of teachers’ authority);
Matthew J. Meyer & Peter E. Leone, A Structural Analysis of School Violence and
Disruption: Implications for Creating Safer Schools, 22 Education and Treatment of
Children 333, 349 (1999) (creating a highly scrutinized school environment may
result in higher levels of disorder),
 http://www.popcenter.org/problems/bomb_threats/pdfs/mayer%26leone_
1999.pdf.
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       and seclusion in schools from 1990 to 2009, including 20 incidents causing

       death. Virtually all of the incidents identified by the GAO involved children

       with disabilities. The same year, in testimony before the House Education and

       Labor Committee, the GAO presented its study and reported on the risks of

       injury and death related to the use of restraint and seclusion on children. The

       GAO explained that even if no physical injury is sustained, individuals can be

       severely traumatized during restraint.

72.    Following the GAO report and testimony, U.S. Secretary of Education Arne

       Duncan wrote a letter to all states requesting that they review and revise their

       policies regarding restraint and seclusion.

73.    In 2010, the Florida Legislature enacted Section 1003.573, Fla. Stat., to limit

       the use of physical restraint and seclusion of children with disabilities at

       school.

74.    Section 1003.573, Fla. Stat., provides that school personnel, including school
       resource officers, may not use mechanical restraints, such as handcuffs, on
       children in the 5th grade or lower.


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             C.     Defendant, Daniels’ Employment with the Sant Rosa County
                    Sheriff’s Department

75.    Defendant, DANIELS, was employed as a law enforcement officer with

       JOHNSON and the SHERIFF’S DEPARTMENT since approximately
       October 2016, but his employment has taken such a downward trajectory that
       he was relegated to working as a School Resource Officer due to his work
       history and has since been fired.

76.    In or about May 2021, Defendant DANIELS was working as a Field Training
       Officer for JOHNSON and the SHERIFF’S DEPARTMENT and was
       assigned to patrol duties.

77.    In May 2021, Defendant DANIELS was late reporting to work. When

       Daniel’s finally showed up, it was noted that he smelled of alcohol and there
       were concerns about whether he could perform his work duties. Daniels
       denied that he had been drinking to his supervising officer, but s subsequent
       breath sample revealed that Daniels had alcohol in his system and that he was
       untruthful to his supervisor. Daniels was then placed on administrative leave.

78.    On or about June 24, 2021, following an Internal Affairs investigation,
       Daniels was suspended for ten (10) days.


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79.    Upon completing his suspension, Daniels returned to work but did not return
       to his duties as a Field Training Officer. Instead, he was assigned
       miscellaneous duties, including working as a School Resource Officer at
       CAMELOT. On September 25, 2021, Daniels was officially reclassified as a
       School Resource Officer. This position was a punishment for Daniels. See
       Exhibit C.

80.    Before relegating Daniels to work as a School Resource Officer, JOHNSON
       and the SHERIFF’S DEPARTMENT neglected to provide Daniels sufficient
       training for this position. Although Defendant, Daniels had completed many
       training protocols, he received minimal training with regard to mental health,
       Baker Act, etc., at best. For example,
       a)    On August 25, 2019, Daniels completed the Sheriff’s Office training

             protocol for “Autism Training”. This training module lasted

             approximately 4 minutes and there were no test questions used to

             verify knowledge. He completed the same 4-minute Autism training

             module on September 17, 2020, and again on July 9, 2021;

       b)    Daniels was not required to, and did not, complete the Baker Act

             training protocol, and

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     c)     Daniels did not receive any training for school resource officers,

            such as the CJSTC School Resource Officer #90 training module.

            However, according to the Sheriff’s Offices training records,

            Daniels did not start to take the CJSTC School Resource Officer

            forty (40) hour training protocol until 12/27/2021 at 12:00 AM

            (which was after the incident concerning LITTLE B and C.B., and

            was about 5 months after he started to work as a school resource

            officer). Daniels completed the 40 hours training in exactly three

            (3) days, completing same on December 30, 2021, at 12:00 AM.

     d)     Further, Daniels never had training as a Crisis Intervention Team

            (CIT) Member, which is a specially trained deputy who has received

            a minimum of forty (40) hours of advanced training in the

            recognition of persons in a mental health crisis and the appropriate

            intervention techniques.

            D.    SCHOOL DISTRICT and CAMELOT Illegally Initiated
                  Involuntary Examinations Of Schoolchildren

       i.   LITTLE B

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81.       LITTLE B was eight years old and in second grade when DANIELS seized

          him for involuntary examination after he became upset.

82.     LITTLE B was eligible for ESE with exceptionalities of ASD and has a

       medical diagnosis of ADHD, of which the CAMELOT had been informed.

83.     SCHOOL BOARD AND CAMELOT had been aware of LITTLE B’s

       disabilities since, at least, the beginning of the 2021 school year, when they

       assigned him to the HIGH ROADS school instead of a traditional public

       school operated by SCHOOL BOARD.

84.     LITTLE B lives with his parents, M.F. and C.F., his legal guardians.

85.    On multiple occasions in the 2020-2021 school year, LITTLE B was

       restrained in the HIGH ROADS classroom.

86.    On December 8, 2021, LITTLE B was upset in his classroom and hit others

       in his classroom.

87.    In the past, multiple strategies had proved effective to deescalate LITTLE B

       and were known to CAMELOT. For example, when he was upset at

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       CAMELOT on a prior occasion, LITTLE B’s parents talked to him and

       calmed him down. Similarly, simply allowing him to sit by himself and

       calm down, instead of having several people talk to him, would have allowed

       him to deescalate. However, none of these effective strategies were tried.

88.    Instead, school staff put LITTLE B in the “serenity room” and kept

       antagonizing or pressuring him to talk about the incident. Then, CAMELOT

       school personnel called School Resource Officer DANIELS, who was

       unprepared to address a disabled child and so attempted to handcuff LITTLE

       B. DANIELS took LITTLE B down to the floor, applied pressure to his

       body, and handcuffed him.

89.    LITTLE B was then placed in the back of a marked police car, where he

       waited for another office to arrive in another marked police car, so LITTLE

       B could be transported for a Baker Act evaluation.

90.    DANIELS was employed by JOHNSON and SHERIFF DEPARTMENT but

       stationed at LITTLE B’s school pursuant to a Security Agreement between

       with the SHERIFF DEPARTMENT and SCHOOL DISTRICT, under which


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       SCHOOL DISTRICT paid the SHERIFF DEPARTMENT to station officers

       at some of its schools. See Exhibit A.

91.    Under that contract, DANIELS was required to abide by the SCHOOL

       BOARD policies and shall consult with and coordinate activities through the

       school principal.

92.    LITTLE B. did not have access to a weapon and made no overt action to

       harm himself.

93.    DANIELS had no reason to believe LITTLE B had a mental illness.

94.    DANIELS had no reason to believe that LITTLE B. posed an imminent

       danger of serious bodily harm to himself or others.

95.    Nonetheless, because of his lack of training and because of the policies and

       practices of Defendants, DANIELS initiated Defendants’ standard

       involuntary commitment process, and while LITTLE B was being

       transported to West Florida Hospital, LITTLE B’s mother was told that

       LITTLE B was being transported for involuntary examination. She was not




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       asked for and did not provide her consent for LITTLE B’s involuntary

       examination.

96.    There is no documentation that any medical or mental health professional

       was consulted about the decision to use the Baker Act on LITTLE B.

97.    In the incident report prepared by DANIELS, he detailed the behavioral

       issues that day; however, he never mentioned LITTLE B’s ASD diagnosis or

       placement in an ASD classroom, or any other available less-intrusive options

       that could have been used to deescalate him.

98.    The incident report also did not state that LITTLE B was handcuffed and

       placed in the back of DANIELS’ police car like an alleged criminal for about

       thirty (30) minutes before he was moved to the “transport” marked police

       car, and then transported to a receiving facility about 15 minutes away.

99.    No school counselor, other school employee, or adult accompanied LITTLE

       B in any police car other than a Sheriff’s deputy.

100. The report from the Baker Act receiving facility revealed that LITTLE B did

       not meet the criteria under the Baker Act and that LITTLE B was released.



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101.   LITTLE B and his family have suffered greatly from the trauma of the

       Defendants’ misuse of the Baker Act on him.

102. LITTLE B’S involuntary examination has compounded and worsened his

       medical condition and caused significant mental anguish. This harm has

       created lasting impacts on LITTLE B.

103. Because of LITTLE B had not yet reached the 5th grade, mechanical

       restrains were not allowed to be used on him by school personnel or school

       resource officers.

104. During the 2021-2022 school year, DANIELS, personnel with CAMELOT,

       and the SCHOOL BOARD were aware that Plaintiff, LITTLE B had been

       diagnosed with autism spectrum disorder (ASD), Disruptive Mood

       Dysregulation Disorder, and Attention-Deficit/Hyperactivity Disorder, and/or

       otherwise suffering from a disability.

        ii.   C.B.


105.   C.B. was eight years old and in second grade when DANIELS seized him

       for involuntary examination, after C.B. became upset.

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106.   C.B was eligible for ESE with exceptionalities of ASD, and also has a

       medical diagnosis of ADHD, of which the CAMELOT had been informed.

107.   SCHOOL BOARD AND CAMELOT knew of C.B.’s disabilities since, at

       least, the beginning of the 2021 school year, when he was enrolled in the

       HIGH ROADS school that year, instead of a traditional public school

       operated by SCHOOL BOARD.

108.   C.B lives with his parents, A.B. and D.B., his legal guardians.

109. On November 10, 2021, C.B was upset in his classroom and was removed

       from the classroom by CAMELOT personnel.

110. C.B was then taken to a room called the serenity room. As he was in this

       room, school personnel and DANIELS kept antagonizing, taunting and/or

       pressuring him about the incident. C.B calmed down at first, but then got

       upset again, at which time CAMELOT school personnel again called School

       Resource Officer DANIELS, who immediately handcuffed C.B. C.B.

       complied with DANIELS, was handcuffed, and then placed into the back of

       a marked police car to be transported for Baker Act evaluation.

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111. DANIELS was employed by the JOHNSON and SHERIFF DEPARTMENT

      but stationed at C.B’s school pursuant to a Security Agreement between the

      SHERIFF DEPARTMENT and SCHOOL DISTRICT, under which

      SCHOOL DISTRICT paid the SHERIFF DEPARTMENT to station officers

      at some of its schools. See Exhibit A.

112. Under that contract, DANIELS was required to abide by the SCHOOL

      BOARD policies and shall consult with and coordinate activities through the

      school principal.

113. C.B. did not have access to a weapon and made no overt action to harm

      himself.

114. DANIELS had no reason to believe C.B had a mental illness.

115. DANIELS had no reason to believe that C.B. posed an imminent danger of

      serious bodily harm to himself or others.

116. Nonetheless, because of his lack of training and because of the policies and

      practices of Defendants, DANIELS initiated Defendants’ standard

      involuntary commitment process.



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117. While C.B was waiting to be transported, he was handcuffed and placed in

       the back of DANIELS’ marked police car, as was the standard policy and

       practice. C.B. then began to cry, hyperventilate and ask for his parents.

118. A CAMELOT employee then contacted D.B. and told him that C.B. was

       being Baker Acted. D.B. was upset at the situation. A CAMELOT relayed

       this to DANIELS, and the employee made a comment to DANIELS that, “I

       don’t give a damn.”

119.   C.B. was transported to West Florida Hospital, but his parents were not

       asked for and did not provide their consent for C.B.’s involuntary

       examination.

120. There is no documentation that any medical or mental health professional

       was consulted about the decision to use the Baker Act on C.B.

121. In the incident report of DANIELS, he detailed the behavioral issues that

       day, however, there was no mention of C.B’s ASD diagnosis or placement

       in an ASD classroom, or other options that could have been used to

       deescalate him.



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122. The incident report also did not state that C.B was handcuffed and placed in

      the back of DANIELS’ marked police car for about twenty (20) minutes

      before he was moved to the “transport” marked police car and treated like an

      alleged criminal and was transported to a receiving facility about 15 minutes

      away.

123. No school counselor, school employee, or adult accompanied C.B in the

      police car other than the sheriff’s deputy.

124. The report from the Baker Act receiving facility revealed that C.B did not

      meet the criteria under the Baker Act and released him.

125. C.B and his family have suffered greatly from the trauma of the Defendants

      misuse of the Baker Act on him.

126. C.B’S involuntary examination has compounded and worsened his medical

      condition, and caused significant mental anguish. This harm has created

      lasting impacts on C.B.

127. Because C.B had not yet reached 5th grade, mechanical restrains were not

      allowed to be used on him by school personnel or school resource officers.



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128. During the 2021-2022 school year, DANIELS, personnel with CAMELOT

       and the SCHOOL BOARD were aware that Plaintiff, C.B had been diagnosed

       with autism spectrum disorder (ASD), and Attention-Deficit/Hyperactivity

       Disorder, and/or otherwise suffering from a disability.

          iii.      Other Children

129.   SCHOOL DISTRICTS and JOHNSON’S treatment of LITTLE B and C.B.

       is sad but typical of their use of the Baker Act on other minors. Review of

       police reports written by JOHNSON’S police officers to justify their use of

       the Baker Act reveals that, even if their narratives are taken as factual and

       complete: many children whose involuntary examination under the Act was

       initiated by police did not in fact meet the statutory criteria; JOHNSON’S

       police officers routinely failed to seek input from a mental health

       professionals prior to involuntary commitment; and JOHNSON’S police

       officers routinely failed to attempt to identify less restrictive means to

       deescalate the child.




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130. In addition, while the Baker Act requires that handcuffs and other restraints

      only be used when necessary to protect the person subject to involuntary

      examination or others, Fla. Stat. § 394.459(1), JOHNSON’S policy requires

      that the person being Baker Acted be handcuffed for their own safety.

      JOHNSON does not have a different policy for children.

131. A public records request to the SCHOOL DISTRICT for their Baker Act

      policy revealed that the SCHOOL DISTRICT does not have a specific policy

      concerning the use of handcuffs or Baker Acting students. See Exhibit E.

132. For example:

             a)    On November 12, 2021, a child that attended HIGH ROADS

                   SCHOOL, who appeared about 5-7 years old, and weighted

                   approximately 50-60 pounds, was placed in handcuffs by

                   DANIELS and placed in the back of his police car. DANIELS

                   refused to wait and allow the Mobile Response Team (MRT) to

                   respond and assess the situation, even though they were trained

                   to assist and access these situations. Eventually, while waiting



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                  for a transport vehicle, the child’s case worker arrived, and staff

                  convinced DANIELS to allow the child to go with his case

                  worker.

            b)    On October 28, 2021, a 15-year-old was handcuffed after being

                  upset when reprimanded for writing on her skin. After she was

                  handcuffed, she got out of her chair and laid on the floor as she

                  was “trying to get into her safe place”, which was under a chair.

                  DANIELS grabbed her by the feet, pulled her across the floor

                  and then got extremely aggressive with the 15-year-old,

                  including lifting her hands up behind her back while handcuffed.

                  The 15-year-old repeatedly asked for her father. DANIELS

                  refused to wait and allow the Mobile Response Team (MRT) to

                  respond and assess the situation, even though they were trained

                  to assist and access these situations.

            c)    On November 30, 2021, a 14-year-old girl was Baker Acted after

                  she had allegedly scratched her neck and leg because she



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                  believed that a tall man had told her to kill herself. Despite the

                  statements in the incident report that the 14-year-old was

                  extremely agitated, the 14-year-old was not extremely agitated,

                  did not yell, and did not become violent. Moreover, DANIELS

                  handcuffed the girl and placed her in the back of his police car

                  until a transport vehicle arrived. DANIELS refused to wait and

                  allow the Mobile Response Team (MRT) to respond and assess

                  the situation, even though they were trained to assist and access

                  these situations.

     133. These incidents, and the many more like them in records, show the

            misuse of the Baker Act on LITTLE B and C.B. were not aberrations

            but instead consistent with its routine practice.

            E.    SCHOOL DISTRICT’S Inadequate Policies,
                  Procedures, and Trainings Resulted in its Excessive and
                  Illegal Use of the Baker Act

     134. In the fiscal year 2020/2021, there were 983 involuntary examinations

            under the Baker Act in Santa Rosa County. Approximately 35.71% or



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            351 of those involuntarily examinations were for children under the age

            of 18, and 43.44% of those were initiated by Law Enforcement

            Officers. See Exhibit G, pg 114.

     135.   Fiscal year 2019/2020 was similar, in that there were 949 involuntary

            examinations under the Baker Act in Santa Rosa County, with 30.14%,

            or 286 examinations, involving those under the age of 18, and 47.42%

            of those were initiated by Law Enforcement Officers. See Exhibit G,

            pg 114.

     136. A review of police reports from all Baker Acts initiated by SHERIFF’S

            DEPARTMENT produced via public record request show that:

            a)    The MRT is not contacted in many of these instances;

            b)    The parents are frequently not contacted until after the child has

                  been transported for Baker Act evaluation; and

            c)    There is usually no record that the CAMELOT, SCHOOL

                  DISTRICT        or     JOHNSON,         SHERIFF    DEPARTMENT

                  attempted to contact the child’s medical/treatment provider.



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     137. As noted above, the SCHOOL DISTRICT does not have a detailed

            policy concerning handling Baker Act situations or handcuffing

            students and does not provide detailed guidance or training to teachers

            and administrators about alternatives. Exhibit E.

     138. For example, the policy does not identify the legal standard to Baker

            Act an individual and does not differentiate between “mental

            conditions” and “developmental disabilities.”

     139. Police officers employed or contracted by SCHOOL DISTRICT

            initiated involuntary examinations under the Baker Act of children

            independently or, more typically, after they were contacted by teachers

            or school administrators. Despite assigning police to determine when

            young children will undergo the traumatic experience of involuntary

            psychiatric examination, SCHOOL DISTRICT did not provide the

            SRO or contractors with accurate information or guidance about the

            legal standard for involuntary examination and inadequate training on




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            applying that legal standard accurately and without discrimination

            against children with disabilities.

     140. Also, the SCHOOL DISTRICT did not provide the SRO or contractors

            with accurate information or guidance concerning the importance of not

            traumatizing the children with handcuffing, and did not instruct the

            officers about the laws that forbid the use of handcuffs and restraints.

     141. Further, the SCHOOL DISTRICT did not provide the SRO or

            contractors with any training concerning contacting the parents to assist

            in de-escalation, or to get their permission to transport the children or

            subject them to involuntary examination.

     142. As a result of these policies, practices, and trainings (or lack thereof),

            the SCHOOL DISTRICTS’ SROs and contractors did not and do not

            know the legal requirements for use of the Baker Act. Many of them

            believe that they are required to handcuff children during Baker Act

            transport and that they may do so in marked police cars. They also

            believe that they are not required to obtain parental consent before



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            initiating an involuntary examination and that they can only transport

            the child to the closest facility.

     143. Moreover, the mobile response teams were often left out of the Baker

            Act process: in many cases, the teams were never called.

     144. Even when they were consulted, mobile response teams sometimes

            recommended use of involuntary examination in situations where less

            restrictive alternatives were available.

     145. SCHOOL DISTRICT and CAMELOT has no policy or practice of

            conducting after-the-fact reviews of involuntary examinations initiated

            by SRO’s or its contractors and staff.

                   F. School Resource Officers

     146. As Sheriff for Santa Rosa County, Defendant JOHNSON provided

            deputy sheriffs to serve as School Resource Officers (SROs) during the

            2021-2022 school year. The School Resource Officers (SROs) are

            law enforcement officers employed by Defendants SHERIFF and

            SHERIFF’S DEPARTMENT and based in the schools. Defendant



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            SHERIFF has the authority to hire, dismiss, assign, or reassign the

            SROs.

     147. Defendants SHERIFF’S DEPARTMENT, JOHNSON, CAMELOT

            and SCHOOL BOARD failed to create and maintain proper and

            adequate policies, practices, procedures, or trainings modules regarding

            the use of physical force and physical restraints, handcuffs, and other

            types of physical force on elementary schoolchildren, including

            students with disabilities such as Plaintiffs, LITTLE B and C.B.

     148. Defendants SHERIFF’S DEPARTMENT, JOHNSON, CAMELOT

            and SCHOOL BOARD failed to take reasonable steps to ensure

            compliance with the provisions of Fla. Stat. §1003.573, and other

            applicable provisions of law.

     149. Defendants SHERIFF’S DEPARTMENT, JOHNSON, CAMELOT

            and SCHOOL BOARD failed to create and maintain policies, practices,

            procedures, or trainings regarding the improper mechanical restraint




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            (including handcuffing) and seclusion of minor children with

            disabilities.

     150. SHERIFF’S DEPARTMENT, JOHNSON, CAMELOT and SCHOOL

            BOARD failed to create and maintain adequate and proper policies,

            practices, procedures, or trainings regarding the seclusion of

            elementary school children and the use of physical force and restraints,

            handcuffs and other types of force on elementary schoolchildren,

            including students with disabilities such as Plaintiff’s.

                   G. SHERIFF’S DEPARTMENT, JOHNSON, CAMELOT
                      and SCHOOL BOARD Have Knowingly Failed to Take
                      Action to Prevent Illegal and Inappropriate Use of the
                      Baker Act Against Children


     151. The incidents of Baker Acts significantly increased once DANIELS

            began working as a school resource officer. For example, from

            12.14.2020 to 9.15.2021 (10 months), only 5 students were Baker

            Acted at Camelot School. However, DANIELS Baker Acted 7 children

            from 9.24.2021 to 12.8.2021 (2.5 months).



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     152. JOHNSON, SHERIFF’S DEPARTMENT, CAMELOT, the SCHOOL

            BOARD, and DANIELS knew or should have known that the use of

            the Baker Act on minors in Santa Rosa County has significantly

            increased over the last ten (10) years.

     153. BOB       JOHNSON,         SANTA         ROSA         COUNTY    SHERIFF’S

            DEPARTMENT, CAMELOT, the SCHOOL DISTRICT, and

            DANIELS knew or should have known that LITTLE B had a

            developmental disability.

     154. BOB       JOHNSON,         SANTA         ROSA         COUNTY    SHERIFF’S

            DEPARTMENT, CAMELOT, the SCHOOL DISTRICT, and

            DANIELS knew or should have known that the C.B. had a

            developmental disability.

     155. JOHNSON, SHERIFF’S DEPARTMENT, CAMELOT, the SCHOOL

            BOARD, and DANIELS knew or should have known that LITTLE B’s

            developmental disability was not a condition for which LITTLE B

            could be Baker Acted.



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     156. JOHNSON, SHERIFF’S DEPARTMENT, CAMELOT, the SCHOOL

            BOARD, and DANIELS knew or should have known that C.B.’s

            developmental disability was not a condition for which he could be

            Baker Acted.

     157. JOHNSON, SHERIFF’S DEPARTMENT, CAMELOT, the SCHOOL

            BOARD, and DANIELS knew or should have known that LITTLE B

            had a right to legal counsel before he could be subject to involuntary

            commitment.

     158. JOHNSON, SHERIFF’S DEPARTMENT, CAMELOT, the SCHOOL

            BOARD and DANIELS knew or should have known that the C.B. had

            a right to legal counsel before he could be subject to involuntary

            commitment.

     159. JOHNSON, SHERIFF’S DEPARTMENT, CAMELOT, the SCHOOL

            BOARD and DANIELS knew or should have known that the Baker Act

            provides that the use of handcuffs and other restraints are

            contraindicated in Baker Act cases.



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     160. JOHNSON, SHERIFF’S DEPARTMENT, CAMELOT, the SCHOOL

            BOARD, and DANIELS knew or should have known that JOHNSON

            had a policy that individuals being Baker Acted by law enforcement

            should be handcuffed, which is contrary to thew Constitution, Florida

            Statutes and the American with Disabilities Act.

     161. JOHNSON’S policy concerning Baker Act is to violate the rights of

            minors, including LITTLE B and C.B. as it does not address the Baker

            Act's requirement that handcuffs, other restraints, and marked police

            cars should only be used when necessary for safety purposes.

     162. JOHNSON’s and the SHERIFF’S DEPARTMENT’S policy to

            handcuff minors being Baker Acted, even when there is no need for any

            application of force, violates the Constitution and Florida Statutes. See

            Exhibit D.

     163. JOHNSON, SHERIFF’S DEPARTMENT, and DANIELS have a

            history of Baker Acting persons with developmental disabilities

            contrary to the requirements of the Baker Act.



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     164. JOHNSON, SHERIFF’S DEPARTMENT, and DANIELS have a

            history of involuntarily committing persons with developmental

            disabilities without allowing them to have legal counsel.

     165. JOHNSON and the SHERIFF’S DEPARTMENT have a history of

            involuntarily committing persons with developmental disabilities

            regardless of any individualized determination and contrary to the stark

            Baker Act data.

     166. JOHNSON and the SHERIFF’S DEPARTMENT have a history of

            failing to develop policies and practices to ensure legal and appropriate

            use of the Baker Act.

     167. This history shows that JOHNSON the SHERIFF’S DEPARTMENT,

            SCHOOL DISTRICT and CAMELOT cannot and will not remedy its

            Baker Act issues without Court oversight. Instead, their abuse of the

            Baker Act use will only end with comprehensive injunctive relief.

                              CAUSES OF ACTION

                                      COUNT I



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            LITTLE B’s Claim for Violation of Due Process Rights to Be
            Free From Unreasonable Search and Seizures and Excessive
            Force under the Fourth and Fourteenth Amendments of the
            United States Constitution. 42 U.S.C. Section 1983

                  (Against DANIELS in his Individual Capacity)


168.    Plaintiff, LITTLE B, re-alleges and incorporates paragraphs one (1) through

       seventy-five (75), and paragraphs seventy-nine (79) though one hundred

       sixty-seven (167),, above as if fully set forth herein.

169. The legality of a seizure by a school official depends on the reasonableness,

       under all the circumstances, of the seizure. The reasonableness of the seizure

       is determined using a two-step inquiry: “first, one must consider ‘whether the

       . . . action was justified at its inception.’” New Jersey v. T.L.O., 469 U.S. 325,

       341 (1985) (internal citations omitted).

170. “[S]econd, one must determine whether the [seizure] as actually conducted

       ‘was reasonably related in scope to the circumstances which justified

       interference in the first place.’” Id. The measures employed during the seizure

       must be “reasonably related to the objectives of the [seizure] and not



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      excessively intrusive in light of the age and sex of the student and the nature

      of the infraction.” Id. at 342.

171. The U.S. Constitution protects LITTLE B against unreasonable seizures and

      excessive force. “[T]he reasonableness of a particular seizure depends not

      only on when it is made, but also on how it is carried out. “Graham v. Connor,

      490 U.S. 386395). Whether a seizure is unreasonable and unconstitutional

      depends upon the totality of the circumstances.

172. The actions of Defendant, DANIELS, as referenced herein, at all times was

      under the color of law.

173. The seizure of LITTLE B, by DANIELS in his Individual Capacity, was

      unreasonable and excessive in light of the totality of the circumstances

      including but not limited to:

             a)    The age, size, and disabilities of the LITTLE B, including his

                   limited ability to impose physical harms on others and his limited

                   ability to form criminal intent;




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            b)    The length of time LITTLE B was experiencing behavior

                  problems associated with his developmental disabilities while at

                  elementary school;

            c)    That DANIELS physically restrained LITTLE B and placed him

                  in handcuffs in such a fashion as to cause physical and

                  psychological injury to the minor;

            d)    That LITTLE B’s actions were not the result of a “mental

                  condition” but was related to a “developmental disability”;

            e)    That DANIELS physically restrained LITTLE B and placed him

                  in handcuffs in such a fashion which was forbidden by Florida

                  Statutes;

            f)    That the physical force in restraining LITTLE B was excessive

                  and violated the U.S. Constitution and Florida Statutes;

            g)     The length of time of the physical restraints and handcuffing;

                  and




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             h)    The traumas imposed by the excessive physical restraints and

                   handcuffing.

174. By engaging in the acts described herein, Defendant DANIELS, in his

      individual capacity, acting under the color of law, and with deliberate

      indifference, violated the Plaintiffs’ rights under the U.S. Constitution, to be

      free from unreasonable seizures and excessive force.

175. The rights of LITTLE B to be free from unreasonable seizures and excessive

      force as described here was clearly established in law at the time of the

      incident alleged.

176. Defendant DANIELS acted maliciously, intentionally, and in reckless

      disregard to the rights of LITTLE B.

177. As a proximate result of the actions and inactions of Defendant DANIELS,

      LITTLE B suffered and continues to suffer physical pain, emotional pain,

      psychological injury, trauma, and suffering. Plaintiff continues to experience

      fear, distrust, and anxiety regarding law enforcement officers (such as

      Daniels). Deputy Sheriffs and school personnel.



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178. LITTLE B is entitled to compensatory and punitive damages, reasonable

      attorneys’ fees and cost.

179. Due to Defendants’ ongoing violations of the Fourth Amendment, injunctive

      and declaratory relief are appropriate remedies.

      WHEREFORE, Plaintiff, LITTLE B, a minor child, by and through his

parents and next of friends, M.F. and C.F., request that this Court enter judgment in

their favor, and against DANIELS in his Individual Capacity, and grant the

following relief:

      a.     Adjudge and declare that Defendant’s, DANIELS in his Individual

             Capacity, actions, policies, practices, and interactions as described

             herein violate the U.S. Constitution and the Florida law;

      b.     Issue an Order enjoining, DANIELS in his Individual Capacity, from

             engaging in the unlawful conduct complained of herein;

      c.     Award actual and compensatory damages and punitive damages for

             harms suffered due to Defendant’s actions as alleged herein;

      d.     Award Plaintiff’s Counsel reasonable attorney’s fees and cost;



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      e.     Award such other relief as the Court deems proper and just.


                                      COUNT II

            C.B’s Claim for Violation of Due Process Rights to Be Free
            From Unreasonable Search and Seizures and Excessive Force
            under the Fourth and Fourteenth Amendments of the United
            States Constitution. 42 U.S.C. Section 1983

                 (Against DANIELS in his Individual Capacity)


180. Plaintiff, C.B., re-alleges and incorporates one (1) through one hundred thirty-

      three (133), and one hundred forty-six (146) to one hundred sixty-seven

      (167), above as if fully set forth herein.

181. The legality of a seizure by a school official depends on the reasonableness,

      under all the circumstances, of the seizure. The reasonableness of the seizure

      is determined using a two-step inquiry: “first, one must consider ‘whether the

      . . . action was justified at its inception.’” New Jersey v. T.L.O., 469 U.S. 325,

      341 (1985) (internal citations omitted).

182. “[S]econd, one must determine whether the [seizure] as actually conducted

      ‘was reasonably related in scope to the circumstances which justified

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      interference in the first place.’” Id. The measures employed during the seizure

      must be “reasonably related to the objectives of the [seizure] and not

      excessively intrusive in light of the age and sex of the student and the nature

      of the infraction.” Id. at 342.

183. The U.S. Constitution protects C.B. against unreasonable seizures and

      excessive force. “[T]he reasonableness of a particular seizure depends not

      only on when it is made, but also on how it is carried out. “Graham v. Connor,

      490 U.S. 386395). Whether a seizure is unreasonable and unconstitutional

      depends upon the totality of the circumstances.

184. The actions of Defendant, DANIELS, as referenced herein, at all times was

      under the color of law.

185. The seizure of C.B., by DANIELS in his Individual Capacity, was

      unreasonable and excessive in light of the totality of the circumstances

      including but not limited to:




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            a)    The age, size, and disabilities of the C.B., including his limited

                  ability to impose physical harms on others and his limited ability

                  to form criminal intent;

            b)    The length of time C.B. was experiencing behavior problems

                  associated with his developmental disabilities while at

                  elementary school;

            c)    That DANIELS physically restrained C.B. and placed him in

                  handcuffs in such a fashion as to cause physical and

                  psychological injury to the minor;

            d)    That C.B.’s actions were not the result of a “mental condition”

                  but was related to a “developmental disability”;

            e)    That DANIELS physically restrained C.B. and placed him in

                  handcuffs in such a fashion which was forbidden by Florida

                  Statutes;

            f)    That the physical force in restraining C.B. was excessive and

                  violated the U.S. Constitution and Florida Statutes;



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             g)    The length of time of the physical restraints and handcuffing; and

             h)    The traumas imposed by excessive physical restraints and

                   handcuffing.

186. By engaging in the acts described herein, Defendant DANIELS, in his

      individual capacity, acting under the color of law, and with deliberate

      indifference, violated the Plaintiffs’ rights under the U.S. Constitution, to be

      free from unreasonable seizures and excessive force.

187. The rights of C.B. to be free from unreasonable seizures and excessive force

      as described herein was clearly established in law at the time of the incident

      alleged.

188. Defendant DANIELS acted maliciously, intentionally, and in reckless

      disregard to the rights of C.B.

189. As a proximate result of the actions and inactions of Defendant DANIELS,

      C.B. suffered and continues to suffer physical pain, emotional pain,

      psychological injury, trauma, and suffering. Plaintiff continues to experience




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      fear, distrust, and anxiety regarding law enforcement officers (such as

      Daniels). Deputy Sheriffs and school personnel.

190. C.B. is entitled to compensatory damages, punitive damages, reasonable

      attorneys’ fees and cost.

191. Due to Defendants’ ongoing violations of the constitution and Florida law,

      Fourth Amendment, injunctive and declaratory relief are appropriate

      remedies.

      WHEREFORE, Plaintiff, C.B., a minor child, by and through his parents and

next of friends, A.B. and D.B., request that this Court enter judgment in their favor,

and against DANIELS in his Individual Capacity, and grant the following relief:

      a.     Adjudge and declare that Defendant’, DANIELS, in his Individual

             Capacity, actions, policies, practices, and interactions as described

             herein violate the U.S. Constitution and the American with Disabilities

             Act;

      b.     Issue an Order enjoining, DANIELS in his Individual Capacity, from

             engaging in the unlawful conduct complained of herein;



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      c.     Award actual and compensatory and punitive damages damages for

             harms suffered due to Defendant’s actions as alleged herein;

      d.     Award Plaintiff’s Counsel reasonable attorney’s fees and cost;

      e.     Award such other relief as the Court deems proper and just.

                                         COUNT III

            LITTLE B’s Claim for Violation of Due Process Rights to Be
            Free From Unreasonable Search and Seizures and Excessive
            Force under the Fourth and Fourteenth Amendments of the
            United States Constitution. 42 U.S.C. Section 1983

                  (Against JOHNSON in his Official Capacity)



192. Plaintiff, LITTLE B, re-alleges and incorporates one (1) through one hundred

      thirty-three (133), and one hundred forty-six (146) to one hundred sixty-seven

      (167), above as if fully set forth herein.

193. The Fourth and Fourteenth Amendment prohibit the use of illegal and

      unreasonable seizures and excessive force by police officers in conducting

      arrests and other seizures.




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194. JOHNSON has a pattern, practice and policy requiring the handcuffing of

      persons who are being Baker Acted by law enforcement officers.

195. DANIELS employed handcuffs and subsequently handcuffed LITTLE B in

      the back when he improperly Baker Acted him.

196. Because JOHNSON’s policy mandates handcuffing, even when there is no

      need for any application of force, it violates the Fourth and Fourteenth

      Amendment and Federal law.

197. Because JOHNSON’s policy mandates handcuffing even when there is no

      need for any application of force, it violates Florida law and is directly

      contrary to the Fourth and Fourteenth Amendment.

198. Because JOHNSON’s policy mandates handcuffing even when it is forbidden

      by Fla. Stat. § 1003.573, it is directly contrary to the Fourth and Fourteenth

      Amendment.

199. JOHNSON AND DANIELS knew or should have known that LITTLE B was

      suffering from a developmental disability.




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200. JOHNSON AND DANIELS knew or should have known that developmental

      disabilities are not covered by the Baker Act.

201. JOHNSON AND DANIELS knew or should have known that it violated

      Florida law to handcuff children like LITTLE B when Baker Acting them.

202. JOHNSON AND DANIELS knew or should have known that handcuffing

      children can severely impact the children and that children with special needs,

      like LITTLE B, can and are more severely impacted by being handcuffed,

      improperly Baker Acted, or have excessive force applied against them.

203. LITTLE B was not provided a level of care that was required by the Fourth

      and Fourteenth Amendments to the U.S. Constitution and Florida law.

204. JOHNSON failed to implement express policies or procedures for

      handcuffing minor children when they are being Baker Acted, and the policy

      in place was to violate the rights of LITTLE B and others.

205. JOHNSON knew of Fla. Stat. § 1003.573, and knew that the children should

      not be handcuffed when being Baker Acted, but allowed and permitted his




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      officers to continue to use force and handcuff children that are being Baker

      Acted.

206. On information and belief, there are exponentially more incidents of children,

      like Little B, improperly being Baker Acted, being handcuffed and having

      excessive force used against them under these circumstances.

207. Despite his knowledge of the impacts of handcuffing minors such as LITTLE

      B, and despite the knowledge that these actions violate the U.S. Constitution

      and Florida law, JOHNSON had an express policy and/or an unwritten policy

      requiring that all persons who are Baker Acted are to be handcuffed, which

      constitutes the customs, practices, and procedures of JOHNSON, that are

      provided to his officers such as DANIELS.

208. Additionally, JOHNSON failed to train or adequately train his officers,

      especially school resource officers like DANIELS, on the requirements of the

      Baker Act, the difference between a “mental disability” and a “developmental

      disability”, and the circumstances when an individual can be Baker Acted.




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209. JOHNSON failed to assure that his school resource officers, like DANIELS,

      met the requirements of Florida law to be assigned as a school resource

      officer, failed to assure that his school resource officers, like DANIELS, met

      the requirements of the Contract with SCHOOL BOARD, including requiring

      them to take the school resource officer training or specialized training for

      dealing with children with developmental disabilities like LITTLE B. This

      failure to train or adequately train constitutes the customs, practices, and

      procedures of JOHNSON, that are provided to his officers such as DANIELS.

210. Further, JOHNSON failed to monitor the actions of his officers, such as

      DANIELS, to assess and monitor the quality of their work and to assure that

      their actions, when Baker Acting a handclapped child, were proper for the

      circumstances and proper under Florida and Federal law.

211. Because of the high risk of injury, psychologically and physically, to a minor

      child for the improper Baker Acting or handcuffing them, and in light of the

      rights of persons being Baker Acted under Federal law and Florida law, the

      need for more and/or different training was obvious, and the inadequacy in



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      training so likely to result in a violation of the person Constitutional Rights,

      that JOHNSON’s decision and conduct, with respect to training, monitoring

      and handcuffing minor children under these circumstances, constituted

      deliberate indifference.

212. DANIELS, as a law enforcement officer for JOHNSON, and under his control

      and supervision, violated LITTLE B’s Fourth and Fourteenth Amendment

      rights by improperly Baker Acting him when he was not suffering from a

      “mental condition” and was not a risk of serious bodily harm as required by

      law.

213. DANIELS, as a law enforcement officer for JOHNSON, and under his control

      and supervision, violated LITTLE B’s Fourth and Fourteenth Amendment

      rights by arresting and handcuffing LITTLE B, which was an excessive use

      of force, especially given the age, weight, emotion condition and medical

      condition.




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214. The unnecessary and excessive handcuffing of LITTLE B, a vulnerable child,

      is traumatic, humiliating, and has caused and continues to cause long-lasting

      harm to children subjected to it.

215. Due to Defendant DANIELS and JOHNSON’S, violations Fourth and

      Fourteenth Amendment, injunctive relief and declaratory relief are

      appropriate remedies.

216. LITTLE B is entitled to actual, compensatory and punitive damages,

      reasonable attorneys’ fees and cost.

      WHEREFORE, Plaintiff, LITTLE B, a minor child, by and through his

parents and next of friends, M.F. and C.F., request that this Court enter judgment in

their favor, and against JOHNSON, in his Official Capacity, and grant the

following relief:

      a.     Adjudge and declare that Defendant’s, JOHNSON, in his Official

             Capacity, actions, policies, practices, and interactions as described

             herein violate the U.S. Constitution:




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       b.    Issue an Order enjoining JOHNSON, in his Official Capacity from

             engaging in the unlawful conduct complained of herein;

       c.    Award actual, compensatory and punitive damages for harms suffered

             due to Defendant’s actions as alleged herein;

       d.    Award Plaintiffs’ Counsel reasonable attorney’s fees and cost;

       e.    Award such other relief as the Court deems proper and just.

                                           COUNT IV

            C.B.’s Claim for Violation of Due Process Rights to Be Free
            From Unreasonable Search and Seizures and Excessive Force
            under the Fourth and Fourteenth Amendments of the United
            States Constitution. 42 U.S.C. Section 1983

                   (Against JOHNSON in his Official Capacity)


217.   Plaintiff, C.B, re-alleges and incorporates paragraphs one (1) through one

       hundred thirty-three (133), and one hundred forty-six (146) to one hundred

       sixty-seven (167), above as if fully set forth herein.




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218. The Fourth and Fourteenth Amendment prohibit the use of illegal and

      unreasonable seizures and excessive force by police officers in conducting

      arrests and other seizures.

219. JOHNSON has a pattern, practice and policy requiring the handcuffing of

      persons who are being Baker Acted by law enforcement officers.

220. DANIELS employed handcuffs and subsequently handcuffed C.B. in the back

      when he improperly Baker Acted him.

221. Because JOHNSON’s policy mandates handcuffing, even when there is no

      need for any application of force, it violates the Fourth and Fourteenth

      Amendment and Federal law.

222. Because JOHNSON’s policy mandates handcuffing even when there is no

      need for any application of force, it violates Florida law and is directly

      contrary to the Fourth and Fourteenth Amendment.

223. Because JOHNSON’s policy mandates handcuffing even when it is forbidden

      by Fla. Stat. § 1003.573, it is directly contrary to the Fourth and Fourteenth

      Amendment.



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224. JOHNSON AND DANIELS knew or should have known that C.B. was

      suffering from a developmental disability.

225. JOHNSON AND DANIELS knew or should have known that developmental

      disabilities are not covered by the Baker Act.

226. JOHNSON AND DANIELS knew or should have known that it violated

      Florida law to handcuff children like C.B. when Baker Acting them.

227. JOHNSON AND DANIELS knew or should have known that handcuffing

      children can severely impact the children and that children with special needs,

      like C.B., can and are more severely impacted by being handcuffed,

      improperly Baker Acted, or have excessive force applied against them.

228. C.B. was not provided a level of care that was required by the Fourth and

      Fourteenth Amendments to the U.S. Constitution and Florida law.

229. JOHNSON failed to implement express policies or procedures for

      handcuffing minor children when they are being Baker Acted, and the policy

      in place was to violate the rights of C.B. and others




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230. JOHNSON knew of Fla. Stat. § 1003.573 and knew that the children should

      not be handcuffed when being Baker Acted, but allowed and permitted his

      officers to continue to use force and handcuff children that are being Baker

      Acted.

231. On information and belief, there are exponentially more incidents of children,

      like C.B., improperly being Baker Acted, being handcuffed and having

      excessive force used against them under these circumstances.

232. Despite his knowledge of the impacts of handcuffing minors such as C.B., and

      despite the knowledge that these actions violate the U.S. Constitution and

      Florida law, JOHNSON had an express policy and/or an unwritten policy

      requiring that all persons who are Baker Acted are to be handcuffed, which

      constitutes the customs, practices, and procedures of JOHNSON, that are

      provided to his officers such as DANIELS.

233. Additionally, JOHNSON failed to train or adequately train his officers,

      especially school resource officers like DANIELS, on the requirements of the




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      Baker Act, the difference between a “mental disability” and a “developmental

      disability”, and the circumstances when an individual can be Baker Acted.

234. JOHNSON failed to assure that his school resource officers, like DANIELS,

      met the requirements of Florida law to be assigned as a school resource

      officer, failed to assure that his school resource officers, like DANIELS, met

      the requirements of the Contract with SCHOOL BOARD, including requiring

      them to take the school resource officer training or specialized training for

      dealing with children with developmental disabilities like C.B. This failure

      to train or adequately train constitutes the customs, practices, and procedures

      of JOHNSON, that are provided to his officers such as DANIELS.

235. Further, JOHNSON failed to monitor the actions of his officers, such as

      DANIELS, to assess and monitor the quality of their work and to assure that

      their actions, when Baker Acting a handclapped child, were proper for the

      circumstances and proper under Florida and Federal law.

236. Because of the high risk of injury, psychologically and physically, to a minor

      child for the improper Baker Acting or handcuffing them, and in light of the



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      rights of persons being Baker Acted under Federal law and Florida law, the

      need for more and/or different training was obvious, and the inadequacy in

      training so likely to result in a violation of the person Constitutional Rights,

      that JOHNSON’s decision and conduct, with respect to training, monitoring

      and handcuffing minor children under these circumstances, constituted

      deliberate indifference.

237. DANIELS, as a law enforcement officer for JOHNSON, and under his control

      and supervision, violated C.B.’s Fourth and Fourteenth Amendment rights by

      improperly Baker Acting him when he was not suffering from a “mental

      condition” and was not a risk of serious bodily harm as required by law.

238. DANIELS, as a law enforcement officer for JOHNSON, and under his control

      and supervision, violated C.B.’s Fourth and Fourteenth Amendment rights by

      arresting and handcuffing C.B., which was an excessive use of force,

      especially given the age, weight, emotion condition and medical condition.




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239. The unnecessary and excessive handcuffing of C.B., a vulnerable child, is

      traumatic, humiliating, and has caused and continues to cause long-lasting

      harm to children subjected to it.

240. Due to Defendant DANIELS and JOHNSON’S, violations Fourth and

      Fourteenth Amendment, injunctive relief and declaratory relief are

      appropriate remedies.

241. C.B. is entitled to actual, compensatory and punitive damages, reasonable

      attorneys’ fees and cost.

      WHEREFORE, Plaintiff, C.B., a minor child, by and through his parents and

next of friends, A.B. and D.B., request that this Court enter judgment in their favor,

and against JOHNSON, in his Official Capacity, and grant the following relief:

      a.     Adjudge and declare that Defendant’s, JOHNSON, in his Official

             Capacity, actions, policies, practices, and interactions as described

             herein violate the U.S. Constitution:

      b.     Issue an Order enjoining JOHNSON, in his Official Capacity from

             engaging in the unlawful conduct complained of herein;



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     c.     Award actual, compensatory and punitive damages for harms suffered

            due to Defendant’s actions as alleged herein;

     d.     Award Plaintiffs’ Counsel reasonable attorney’s fees and cost;

     e.     Award such other relief as the Court deems proper and just.


                                  COUNT V
§ 1983 Procedural Due Process Claim for Deprivation of Parental Right to
                         Custody and Control
                (By M.F. and C.F. Against JOHNSON)

     242. Plaintiff, M.F. and C.F., reallege and incorporate one (1) through one

            hundred thirty-three (133), and one hundred forty-six (146) to one

            hundred sixty-seven (167), above as if fully set forth herein.

     243. Parents have a fundamental right to the care, custody, and control of

            their children.

     244. Parents cannot be deprived of this fundamental right without

            constitutionally sufficient due process               under the Fourteenth

            Amendment.




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     245. Plaintiff M.F. and C.F. brings this claim against Defendant,

            JOHNSON, in his Official Capacity because JOHNSON’s employees

            and contracted school resource officer took LITTLE B into their

            custody and transported him to a receiving facility, where they were

            initially denied contact with his parents, without notifying or seeking

            consent form his parents.

     246. No actual or perceived emergency existed that would justify

            Defendants depriving LITTLE B’s parents of their fundamental rights

            without due process protections.

     247. The failure to provide any type of notice or consent requirement prior

            to removing LITTLE B from his parents’ custody and control is

            constitutionally insufficient and violates M.F.’s and C.F.’s due process

            rights.

     248. These violations of M.F.’s and C.F.’s rights by School Resource

            Officers or police officers working in Santa Rosa County schools were

            the result of longstanding policies adopted by, ratified by, acquiesced



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            to and endorsed by Defendant, JOHNSON, and his predecessors.

            JOHNSON’S Baker Act policies still provide that parents need not even

            be asked for their opinion, let alone consent, about whether their

            children should be sent for involuntarily examination.

     249. These violations were also the result of those Defendants’ failure to

            supervise and train School Resource Officer, employees, and

            contractors to seek parental consent before initiating a Baker Act

            examination. Despite being aware that hundreds of children were being

            Baker Acted and that many of those Baker Acts could be prevented by

            contacting children’s parents, Defendants failed to train their officers to

            do so.

     250. These violations interfered with M.F.’s and C.F.’s relationship with

            LITTLE B when he needed them most. This caused M.F. and C.F. and

            LITTLE B great distress. Without adequate relief Plaintiffs are at

            significant risk of suffering similar harms in the future.




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      251. Due to Defendants’ ongoing violations of the Fourteenth Amendment

             and the U.S. Constitution, injunctive and declaratory relief is an

             appropriate remedy.

      252. Plaintiffs, M.F. and C.F., are entitled to compensatory damages,

             injunctive relief, declaratory relief and attorneys' fees and costs.

      WHEREFORE, Plaintiffs, M.F. and C.F., request that this Court enter

judgment in their favor, and against Defendant, JOHNSON, in his Official

Capacity, and grant the following relief:

             a.    Adjudge and declare that Defendant, JOHNSON, in his Official

                   Capacity, actions, policies, practices, and interactions as

                   described herein violate the U.S. Constitution;

             b.    Issue an Order enjoining Defendant from engaging in the

                   unlawful conduct complained of herein;

             c.    Award actual and compensatory damages for harms suffered

                   due to Defendant’s actions as alleged herein;

             d.    Award Plaintiff’s Counsel reasonable attorneys fees and cost;



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            e.    Award such other relief as the Court deems proper and just.

                              COUNT VI
§ 1983 Procedural Due Process Claims for Control Over Medical Decision-
              Making Under the Fourteenth Amendment
                (By M.F. and C.F. Against JOHNSON)

     253. Plaintiffs, M.F. and C.F., re-allege and incorporate one (1) through one

            hundred thirty-three (133), and one hundred forty-six (146) to one

            hundred sixty-seven (167), above as if fully set forth herein.

     254. Parents have a fundamental right to the care, custody, and control of the

            medical decisions of their children.

     255. Parents cannot be deprived of this fundamental right without

            constitutionally sufficient due process             under the Fourteenth

            Amendment.

     256. Plaintiffs, M.F. and C.F.,           bring this claim against Defendant,

            JOHNSON, in his Official Capacity, because JOHNSON’s employees

            and contractors initiated involuntary examinations of LITTLE B under

            the Baker Act without notifying or seeking consent from his parents,

            and/or over the parents objections.

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     257. No actual or perceived emergency existed that would justify

            Defendants depriving LITTLE B’s parents of their fundamental rights

            without any due process protections.

     258. The failure to provide any type of notice or consent requirement prior

            to employing the Baker Act on a child in this situation is

            unconstitutional and violates M.F. and C.F.’s procedural due process

            rights.

     259. These violations of M.F. and C.F.’s rights by police officers working in

            Santa Rosa County schools were the result of longstanding SHERIFF

            DEPARTMENT and JOHNSON’s policies adopted by, ratified by,

            acquiesced to and endorsed by Defendant, JOHNSON and his

            predecessors. JOHNSON’S policies still provide that parents need not

            even be asked for their opinion, let alone consent, about whether their

            children should be sent for involuntarily examination.

     260. These violations were also the result of those Defendants’ failure to

            supervise and train Santa Rosa County Sheriff’s Office employees and



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            contractors to seek parental consent before initiating a Baker Act

            examination. Despite being aware that hundreds of children were being

            seized for involuntary examination under the Baker Act and that many

            of those Baker Acts could be prevented by contacting children’s

            parents, Defendants failed to train their officers to do so.

     261. These violations interfered with LITTLE B’s parents’ ability to make

            the best medical decisions for their child, harming the interests of both

            parents and child in ensuring that children’s medical needs are met

            adequately. Without adequate relief M.F. and C.F. are at significant risk

            of suffering similar harms in the future.

     262. Due to Defendant’s ongoing violations of the Fourteenth Amendment,

            injunctive and declaratory relief are appropriate remedies.

     263. Plaintiffs, M.F. and C.F., are entitled to compensatory damages,

            injunctive relief, declaratory relief and attorneys' fees and

            costs.




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      WHEREFORE, Plaintiffs, M.F. and C.F., request that this Court enter

judgment in their favor, and against JOHNSON, in his Official Capacity, and grant

the following relief:

      a.     Adjudge and declare that Defendants, JOHNSON, in his Official

             Capacity, actions, policies, practices, and interactions as described

             herein violate the U.S. Constitution;

      b.     Issue an Order enjoining JOHNSON, from engaging in the unlawful

             conduct complained of herein;

      c.     Award actual and compensatory damages for harms suffered due to

             Defendants’ actions as alleged herein;

      d.     Award Plaintiffs’ Counsel reasonable attorneys fees and cost;

      e.     Award such other relief as the Court deems proper and just.

                                 COUNT VII
                   LITTLE B’s -Disability-Based Discrimination In
                Violation of Title II of the Americans with Disabilities
                                           Act,
                42 U.S.C. § 12132 and 28 C.F.R. § 35.130(b)(3), (8)
             (Against SANTA ROSA COUNTY SHERIFF’S DEPT)



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     264. Plaintiff, LITTLE B, re-alleges and incorporates one (1) through one

            hundred thirty-three (133), and one hundred forty-six (146) to one

            hundred sixty-seven (167), above as if fully set forth herein.

     265. The regulations implementing Title II of the ADA require that public

            entities avoid unnecessary policies, procedures, practices, criteria, or

            methods of administration that have the effect or tendency of excluding

            or discriminating against persons with disabilities. 28 C.F.R. §

            35.130(b)(3), (8).

     266.   Students with disabilities, and particularly students with disabilities

            involving behavioral challenges, including LITTLE B, are particularly

            susceptible to being injured by the unnecessary use of physical

            restraints, including handcuffs, on the basis of disability. The affects

            on    the   students     with    disabilities       include   substantial   and

            disproportionate physical and emotional injuries and disruptive

            exclusions from the school community.




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     267.   Instead of the unnecessary use of excessive force and physical

            restraints, including handcuffs, students with disabilities require

            reasonable modifications such as crisis intervention, de-escalation,

            patience, and waiting.

     268. Defendant, SHERIFF’S DEPARTMENT, is a public entity subject to

            Title II of the ADA.

     269. LITTLE B is a qualified individual with disabilities within the meaning

            of Title II of the ADA and meets the essential eligibility requirements

            for the receipt of services, programs, or activities of Defendants. Id. §

            12131(2).

     270. Under the ADA, law enforcement officers, including school resource

            officers like Defendant DANIELS, must provide reasonable

            modifications as needed during the interactions with individuals with

            disabilities.

     271.   Through its policies and practice of imposing unnecessary and

            excessive physical force and the use of physical restraints, including



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            handcuffs, on school children with disabilities, including LITTLE B,

            Defendant, SHERIFF’S DEPARTMENT, has violated and continues

            to violate the ADA. See Exhibit D

     272. Based on all the circumstances stated herein, Defendant SHERIFF’S

            DEPARTMENT knew or should have known that the plaintiff is a

            person with a disability who requires a reasonable accommodation

            under the ADA due to his disability related difficulties.

     273. Instead of providing a modification such as crisis intervention,

            patience, and waiting, Defendant escalated the encounters with plaintiff

            and subjected him to unnecessary physical restraint including

            handcuffing. In doing so, DANIELS acted with deliberate indifference.

     274. Further, and with deliberate indifference, Defendant, Sheriff’s

            Department failed to implement the nondiscrimination and regional

            modification requirements of the ADA through its policies, practices,

            procedures, and trainings, and instead authorized school resource




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            officers such as defendant Daniels to engage in disability

            discrimination against plaintiff.

     275. As a proximate result of the actions and interactions of the Defendant,

            SHERIFF’S DEPARTMENT, and its agents, LITTLE B suffered and

            continues to suffer physical pain, emotional pain, psychological injury,

            trauma, and suffering. Plaintiff continues to experience fear, distrust,

            and anxiety regarding law enforcement officers such as Daniels.

     276. Through the acts and omissions set forth herein, Defendant,

            SHERIFF’S DEPARTMENT also violated Title II of the ADA and

            discriminated against LITTLE B by reason of his disability by:

            a) Denying LITTLE B an opportunity to participate in and benefit from

               education services equal to that afforded to other students;

            b) Putting LITTLE B at risk of denial of the opportunity to receive

               educational programs and services in the most integrated setting

               appropriate to their needs;




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            c) Failing to reasonably modify policies and procedures as needed to

               avoid discrimination against Plaintiff;

            d) Using methods of administration that have the effect of defeating or

               substantially impairing the accomplishment of the objectives of the

               Defendants’ programs with respect to the Plaintiffs; and

            e) Excluding or otherwise denying equal services, programs, or

               activities to LITTLE B because of his disabilities.

     277. LITTLE B did not and does not pose a significant risk to the health or

            safety of others, or any risk posed could have been or can be eliminated

            by the provision of reasonable modification and/or non-discriminatory

            services.

     278. Thus, Defendant, SHERIFF’S DEPARTMENT has deprived LITTLE

            B and have placed him at significant risk of further deprivation of

            participation in or the benefits of services, programs, or activities by a

            public entity.




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      279. Defendant, SHERIFF’S DEPARTMENT, has demonstrated deliberate

             indifference, as it was aware of substantially likely harm to LITTLE

             B’s federally protected rights under Title II of the ADA and failed to

             act upon that likelihood.

      280. Alternatively, Defendant, SHERIFF’S DEPARTMENT, acted with the

             intent or reckless disregard to discriminate against LITTLE B

      281. As a result of Defendant, SHERIFF’S DEPARTMENT’s actions,

             LITTLE B has suffered and is at significant risk of suffering irreparable

             harm, including substantial loss of educational opportunities, and there

             is no adequate remedy at law.

      282. Due to Defendant, SHERIFF’S DEPARTMENT’s ongoing violations

             of Title II of the ADA, injunctive relief, declaratory relief, and

             compensatory and punitive damages are appropriate remedies.

      283. Additionally, Plaintiff is entitled to recover attorney’s fees and costs.

      WHEREFORE, Plaintiff, LITTLE B, a minor child, by and through his

parents and next of friends, M.F. and C.F., request that this Court enter judgment in



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their favor, and against SANTA ROSA COUNTY SHERIFF’S DEPARTMENT,

and grant the following relief:

      a.     Adjudge and declare that Defendant’s, SANTA ROSA COUNTY

             SHERIFF’S DEPARTMENT                  actions, policies, practices, and

             interactions as described herein violate the American With Disabilities

             Act;

      b.     Issue an Order enjoining SANTA ROSA COUNTY SHERIFF’S

             DEPARTMENT from engaging in the unlawful conduct complained of

             herein;

      c.     Award actual and compensatory damages for harms suffered due to

             Defendant’s actions as alleged herein;

      d.     Award Plaintiff’s Counsel reasonable attorney’s fees and cost;

      e.     Award such other relief as the Court deems proper and just.


                                    COUNT VIII

                 C.B.’s -Disability-Based Discrimination In Violation of
                     Title II of the Americans with Disabilities Act,
                 42 U.S.C. § 12132 and 28 C.F.R. § 35.130(b)(3), (8)

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            (Against SANTA ROSA COUNTY SHERIFF’S DEPT)

     284. Plaintiff, C.B, re-alleges and incorporates paragraphs one (1) through

            one hundred thirty-three (133), and one hundred forty-six (146) to one

            hundred sixty-seven (167), above as if fully set forth herein.

     285. The regulations implementing Title II of the ADA require that public

            entities avoid unnecessary policies, procedures, practices, criteria, or

            methods of administration that have the effect or tendency of excluding

            or discriminating against persons with disabilities. 28 C.F.R. §

            35.130(b)(3), (8).

     286.   Students with disabilities, and particularly students with disabilities

            involving behavioral challenges, including C.B., are particularly

            susceptible to being injured by the unnecessary use of physical

            restraints, including handcuffs, on the basis of disability. The affects

            on    the   students     with    disabilities       include   substantial   and

            disproportionate physical and emotional injuries and disruptive

            exclusions from the school community.



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     287.   Instead of the unnecessary use of excessive force and physical

            restraints, including handcuffs, students with disabilities require

            reasonable modifications such as crisis intervention, de-escalation,

            patience, and waiting.

     288. Defendant, SHERIFF’S DEPARTMENT, is a public entity subject to

            Title II of the ADA.

     289. C.B. is a qualified individual with disabilities within the meaning of

            Title II of the ADA and meets the essential eligibility requirements for

            the receipt of services, programs, or activities of Defendants. Id. §

            12131(2).

     290. Under the ADA, law enforcement officers, including school resource

            officers like Defendant DANIELS, must provide reasonable

            modifications as needed during the interactions with individuals with

            disabilities.

     291.   Through its policies and practice of imposing unnecessary and

            excessive physical force and the use of physical restraints, including



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            handcuffs, on school children with disabilities, including C.B,

            Defendant, SHERIFF’S DEPARTMENT, has violated and continues

            to violate the ADA. See Exhibit D

     292. Based on all the circumstances stated herein, Defendant SHERIFF’S

            DEPARTMENT knew or should have known that the plaintiff is a

            person with a disability who requires a reasonable accommodation

            under the ADA due to his disability related difficulties.

     293. Instead of providing a modification such as crisis intervention,

            patience, and waiting, Defendant escalated the encounters with plaintiff

            and subjected him to unnecessary physical restraint including

            handcuffing. In doing so, DANIELS acted with deliberate indifference.

     294. Further, and with deliberate indifference, Defendant, Sheriff’s

            Department failed to implement the nondiscrimination and regional

            modification requirements of the ADA through its policies, practices,

            procedures, and trainings, and instead authorized school resource




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            officers such as defendant Daniels to engage in disability

            discrimination against plaintiff.

     295. As a proximate result of the actions and interactions of the Defendant,

            SHERIFF’S DEPARTMENT, and its agents, C.B. suffered and

            continues to suffer physical pain, emotional pain, psychological injury,

            trauma, and suffering. Plaintiff continues to experience fear, distrust,

            and anxiety regarding law enforcement officers such as Daniels.

     296. Through the acts and omissions set forth herein, Defendant,

            SHERIFF’S DEPARTMENT also violated Title II of the ADA and

            discriminated against C.B. by reason of his disability by:

            a) Denying C.B. an opportunity to participate in and benefit from

               education services equal to that afforded to other students;

            b) Putting C.B. at risk of denial of the opportunity to receive

               educational programs and services in the most integrated setting

               appropriate to their needs;




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            c) Failing to reasonably modify policies and procedures as needed to

               avoid discrimination against Plaintiff;

            d) Using methods of administration that have the effect of defeating or

               substantially impairing the accomplishment of the objectives of the

               Defendants’ programs with respect to the Plaintiffs; and

            e) Excluding or otherwise denying equal services, programs, or

               activities to C.B. because of his disabilities.

     297. C.B. did not and does not pose a significant risk to the health or safety

            of others, or any risk posed could have been or could be eliminated by

            the provision of reasonable modification and/or non-discriminatory

            services.

     298. Thus, Defendant, SHERIFF’S DEPARTMENT has deprived C.B. and

            have placed him at significant risk of further deprivation of

            participation in or the benefits of services, programs, or activities by a

            public entity.




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      299. Defendant, SHERIFF’S DEPARTMENT has demonstrated deliberate

             indifference, as they were aware of substantially likely harm to LITTLE

             B’s federally protected rights under Title II of the ADA and failed to

             act upon that likelihood.

      300. Alternatively, Defendant, SHERIFF’S DEPARTMENT acted with the

             intent or reckless disregard to discriminate against C.B.

      301. As a result of Defendant, SHERIFF’S DEPARTMENT’s actions, C.B.

             has suffered and is at significant risk of suffering irreparable harm,

             including substantial loss of educational opportunities, and there is no

             adequate remedy at law.

      302. Due to Defendant, SHERIFF’S DEPARTMENT’s ongoing violations

             of Title II of the ADA, injunctive relief, declaratory relief, and

             compensatory and punitive damages are appropriate remedies.

      303. Additionally, Plaintiff is entitled to recover attorney’s fees and costs.

      WHEREFORE, Plaintiff, C.B., a minor child, by and through his parents and

next of friends, A.B. and D.B., request that this Court enter judgment in their favor,



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and against SANTA ROSA COUNTY SHERIFF’S DEPARTMENT, and grant the

following relief:

      a.     Adjudge and declare that Defendant’s, SANTA ROSA COUNTY

             SHERIFF’S DEPARTMENT                  actions, policies, practices, and

             interactions as described herein violate the American With Disabilities

             Act;

      b.     Issue an Order enjoining SANTA ROSA COUNTY SHERIFF’S

             DEPARTMENT from engaging in the unlawful conduct complained of

             herein;

      c.     Award actual and compensatory damages for harms suffered due to

             Defendant’s actions as alleged herein;

      d.     Award Plaintiff’s Counsel reasonable attorney’s fees and cost;

      e.     Award such other relief as the Court deems proper and just.


                                   COUNT IX-
                       VIOLATION OF THE AMERICANS WITH
                               DISABILITIES ACT-




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                LITTLE B’s - Disability-Based Discrimination In
            Violation of Title II of the Americans with Disabilities Act
                 42 U.S.C. § 12132, 28 C.F.R. § 35.130(b)(3), (8)
                           (Against SCHOOL BOARD)

     304. Plaintiff, LITTLE B, realleges and incorporates paragraphs one (1)

            through seventy-five (75), and paragraphs seventy-nine (79) though

            one hundred sixty-seven (167) above as if fully set forth herein.

     305.   The regulations implementing Title II of the ADA require that public

            entities avoid unnecessary policies, procedures, practices, criteria, or

            methods of the ministration that had the effect or tendency of

            excluding or discriminating against persons with disabilities. 42

            U.S.C. § 12131(1).

     306.   Defendant, SCHOOL BOARD, is a public entity subject to Title II of

            the ADA and is officially responsible for supervising the operations of

            a public entity subject to Title II of the ADA. 42 U.S.C. § 12131(1).

     307. The claim in this count is not a claim under the Individual with

            Disabilities Education Act (“IDEA”), 20 U.S.C. § 1400, et seq., that

            offers federal funds to States in exchange for a commitment to furnish

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            a “free appropriate public education” (“FAPE”) to all children with

            certain physical or intellectual disabilities. See 20 U.S.C. §

            1412(a)(1)(A).

     308. Plaintiff’s claim is ripe based on the fact that he suffered malicious

            physical abuse inflicted upon him by school personnel, acting out of

            animus or frustration, all of which occurred because such was

            permitted by School Board policies and practices.

     309. At all relevant times, Plaintiff, LITTLE B, was enrolled in an

            elementary school within the Santa Rosa County School District.

     310. LITTLE B is a person with a disability protected by the Americans with

            Disabilities Act. As a minor child, Plaintiff brings this action through

            his mother and father and next of friends, M.F. and C.F.

     311. In Florida, district school boards may establish school resource officer

            programs through a cooperative agreement with law enforcement

            agencies.




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       312. During the school calendar year 2021-2022, school resource officers

             were required to be certified law enforcement officers; however, such

             school resource officers are required to abide by district school board

             policies and are required to consult and coordinate activities through

             the school principal. See §1006.12 (1)(b), Florida Statutes (2017).

       313. By virtue of the provisions Fla. Stat. §1006.12 pertaining to school

             resource officers, such officers – being under school board policies and

             coordinating their activities through the school principal – constitute

             school personnel under Florida law.20

       314. Deputy DANIELS was the assigned SRO for HIGH ROADS SCHOOL

             and was the SRO who interacted with LITTLE B on December 8, 2021.

             On said date, DANIELS was subject to school board policies and was

             required to consult and conduct his activities through the school

             principal.


20
  See K.P. v. State, 129 So. 3d 1121, 1131 (Fla. 3d DCA 2013); M.D. v. State, 65
So. 3d 563, 566 (Fla. 1st DCA 2011; C.M.M. v. State, 983 So. 2d 704, 705 (Fla. 5th
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     315. The SRO, the principal, the teachers and staff at the HIGH ROADS

            SCHOOL were school personnel under Florida law and are agents of

            the SCHOOL BOARD.

     316.   LITTLE B is a qualified individual with disabilities within the

            meaning of Title II of the ADA and meets the essential eligibility

            requirements for the receipt of services, programs, or activities of

            Defendants. Id. § 12131(2). Through the acts and omissions set forth

            above, Defendant, SCHOOL BOARD violated Title II of the ADA and

            discriminated against Plaintiff LITTLE B by reason of her disability

            by:

            (a) Failing to reasonably modify the Defendant’s programs and

               services as needed to avoid discrimination against LITTLE B; and

            (b) Using methods of administration that have the effect of defeating or

               substantially impairing the accomplishment of the objectives of the

               Defendant School Board’s programs with respect to LITTLE B.




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     317. Students with disabilities, and particularly students with disabilities

            involving behavioral challenges, including LITTLE B are particularly

            susceptible to being injured by the unnecessary use of physical

            restraints, including handcuffs, on the basis of disability. The effects on

            the students with disabilities include substantial and disproportionate

            physical and emotional injuries and disruptive exclusions from the

            school community.

     318. Instead of the unnecessary use of excessive force in physical restraints,

            including handcuffs, students with disabilities require reasonable

            modifications such as crisis intervention, de-escalation, patience, and

            waiting.

     319. Through its policies and practice of imposing unnecessary and

            excessive physical force in physical restraints, including handcuffs, on

            school children with disabilities, including plaintiff, Defendant,

            SCHOOL BOARD, has violated and continues to violate the ADA.




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          320. Under these provisions, school resource officers like the Defendant

                 DANIELS, may not discriminate on the basis of disability, and must

                 provide reasonable modifications as needed during the interactions with

                 individuals with disabilities.

          321. On December 8, 2021, while in a classroom and while at school,

                 LITLE B experienced disability-related difficulties in the nature of an

                 autistic meltdown.21 The episode was an event bought about by the

                 child’s severe autistic disorder and as such was an episode directly

                 manifesting his severe disability; and, the episode was not an event

                 associated with misbehavior or misconduct for which he was subject to



21
  A meltdown is an intense response to an overwhelming situation.               It happens when
someone becomes completely overwhelmed by their current situation and temporarily loses
control of their behavior. This loss of control can be expressed verbally (eq shouting, screaming,
crying), physical (e.g., kicking, lashing out, biting) or in both ways. A meltdown is not the
same as a temper tantrum. It is not bad or naughty behavior. When a person is completely
overwhelmed, and their condition means it is difficult to express that in another way, it is
understandable that the result is a meltdown. Meltdowns are not the only way an autistic person
may express feeling overwhelmed. They may also refuse to interact, withdrawing from situations
they       find challenging       or       avoiding         them altogether.
https://www.autism.org.uk/advice-and-guidance/topics/behaviour/meltdowns/all- audiences



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            being disciplined.     The child, while suffering from an episode

            associated with his disability, was removed from his classroom and

            taken to the serenity room in the school where school personnel,

            including the SRO, physically abused the disabled student by the use of

            excessive physical restraint, forceful handcuffing, and excessive force

            causing physical and emotional injury and trauma. The use of such

            excessive force and harmful physical abuse was out of anger, animus

            or frustration on the part of school personnel (including the SRO)

            directed to the disabled student because the disabled child was

            incapable of following the directions of school personnel (including the

            SRO) due to his disability. The instance of violence carried out against

            the LITTLE B, for the reasons set forth herein, was not for the purpose

            of providing LITTL EB with an adequate special education and was

            unlikely to involve the adequacy of a special education.




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     322. The physical abuse to which the LITTLE B was subjected was done out

            of animus and frustration and was done in such a fashion so as to cause

            physical injuries and emotional trauma to the LITTLE B.

     323. After the autistic meltdown, LITTLE B was handcuffed, placed in the

            back of a police car and transported to West Florida Hospital (a mental

            health receiving facility located in Escambia County) wherein                a

            physician examined the Plaintiff and determined that he did not meet

            the requirements to be Baker Acted and discharged the LITTLE B.

     324. While being physically abused, LITTLE B was physically injured;

            manifested and expressed pain; and, experienced mental suffering and

            anguish along with emotional distress. Furthermore, the LITTLE B’s

            mental, emotional, and psychological conditions associated with his

            autism became exacerbated.

     325. The use of excessive and abusive physical force and restraint, including

            the use of mechanical restraints and handcuffs by school personnel

            (including the SRO) occurred because the School Board policies and



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            practices permitted the same. Further, at no point during the interaction

            between LITTLE B and school personnel (including the SRO) was

            there an imminent danger of physical harm or “direct threat” to LITTLE

            B or to anyone else that required the use of excessive and abusive force

            and harm to LITTLE B. There was not a “direct threat” justification for

            use of excessive and abusive physical restraint and placement of

            handcuffs on the LITTLE B.

     326. LITTLE B experienced physical pain, physical injury and significant

            emotional distress during the interaction between the LITTLE B and

            school personnel (including the SRO). As a result of the excessive

            force, handcuffing, and physical abuse of the LITTLE B, he suffered

            and continues to suffer emotional distress for which he is entitled to

            money damages as compensatory damages for his past harm arising out

            of the physical abuse he experienced.

     327. DANIEL’s and SCHOOL BOARD actions herein were in violation of

            Fla. Stat. § 1003.573 and constitute deliberate indifference.



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     328. Further, and with deliberate indifference, Defendant, SCHOOL

            BOARD failed to implement the nondiscrimination and regional

            modification requirements of the ADA through its policies, practices,

            procedures, and trainings, and instead authorized school resource

            officers such as Defendant Daniels to engage in disability

            discrimination against plaintiff.

     329. As a proximate result of the actions and interactions of the Defendant,

            SCHOOL BOARD, and its agents, LITTLE B suffered and continues

            to suffer physical pain, emotional pain, psychological injury, trauma

            and suffering. Plaintiff continues to experience fear, distrust, and

            anxiety regarding school and law enforcement officers such as Daniels.

     330. Through the acts and omissions set forth herein, Defendants, SCHOOL

            BOARD, also violated Title II of the ADA and discriminated against

            LITTLE B by reason of his disability by:

            a)    Denying LITTLE B an opportunity to participate in and benefit

                  from education services equal to that afforded to other students;



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            b)    Putting LITTLE B at risk of denial of the opportunity to receive

                  educational programs and services in the most integrated setting

                  appropriate to his needs;

            c)    Failing to reasonably modify policies and procedures as needed

                  to avoid discrimination against Plaintiff;

            d)    Using methods of administration that have the effect of defeating

                  or substantially impairing the accomplishment of the objectives

                  of the Defendants’ programs with respect to the Plaintiffs; and

            e)    Excluding or otherwise denying equal services, programs, or

                  activities to LITTLE B because of his disabilities.



     331. LITTLE B did not and does not pose a significant risk to the health or

            safety of others, or any risk posed could have been or could be

            eliminated by the provision of reasonable accommodations and/or non-

            discriminatory services.




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     332. Thus, Defendant, SCHOOL BOARD, has deprived LITTLE B and has

            placed him at significant risk of further deprivation of participation in

            or the benefits of services, programs, or activities of a public entity.

     333. Defendant,      SCHOOL         BOARD,         has     demonstrated   deliberate

            indifference, in that it was aware of substantially likely harm to

            LITTLE B’s federally protected rights under Title II of the ADA and

            failed to act upon that likelihood.

     334. Alternatively, Defendant, SCHOOL BOARD, has acted with the intent

            or reckless disregard to discriminate against LITTLE B

     335. As a result of Defendant’s, SCHOOL BOARD, violations, LITTLE B

            has suffered and is at significant risk of suffering irreparable harm,

            including substantial loss of educational opportunities, and there is no

            adequate remedy at law.

     336. Due to Defendant, SCHOOL BOARD’S ongoing violations of Title II

            of the ADA, injunctive relief, declaratory relief, and damages are

            appropriate remedies.



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     337. Additionally, LITTLE B is entitled to recover attorney’s fees and costs.



     WHEREFORE, Plaintiff, LITTLE B, a minor child, by and through his

 parents and next of friends, M.F. and C.F., request that this Court enter judgment

 in their favor, and against SCHOOL BOARD, and grant the following relief:

            a.    Adjudge and declare that Defendant’s, SCHOOL BOARD

                  actions, policies, practices, and interactions as described herein

                  violate the American With Disabilities Act;

            b.    Issue an Order enjoining SCHOOL BOARD from engaging in

                  the unlawful conduct complained of herein;

            c.    Award actual and compensatory damages for harms suffered due

                  to Defendant’s actions as alleged herein;

            d.    Award Plaintiff’s Counsel reasonable attorneys fees and cost;

                                     COUNT X-
                     VIOLATION OF THE AMERICANS WITH
                                 DISABILITIES ACT-
             C.B.’s - Disability-Based Discrimination In Violation of
            Title II of the Americans with Disabilities Act 42 U.S.C. §
                         12132, 28 C.F.R. § 35.130(b)(3), (8)

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                             (Against SCHOOL BOARD)

     338. Plaintiff, C.B., realleges and incorporates paragraphs one (1) through

            seventy-five (75), and paragraphs seventy-nine (79) though one

            hundred sixty-seven (167), above as if fully set forth herein.

     339.   The regulations implementing Title II of the ADA require that public

            entities avoid unnecessary policies, procedures, practices, criteria, or

            methods of the ministration that had the effect or tendency of

            excluding or discriminating against persons with disabilities. 42

            U.S.C. § 12131(1).

     340.   Defendant, SCHOOL BOARD, is a public entity subject to Title II of

            the ADA and is officially responsible for supervising the operations of

            a public entity subject to Title II of the ADA. 42 U.S.C. § 12131(1).

     341. The claim in this count is not a claim under the Individual with

            Disabilities Education Act (“IDEA”), 20 U.S.C. § 1400, et seq., that

            offers federal funds to States in exchange for a commitment to furnish

            a “free appropriate public education” (“FAPE”) to all children with


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            certain physical or intellectual disabilities. See 20 U.S.C. §

            1412(a)(1)(A).

     342. C.B.’s claim is ripe based on the fact that he suffered malicious

            physical abuse inflicted upon him by school personnel, acting out of

            animus or frustration, all of which occurred because such was

            permitted by School Board policies and practices.

     343. At all relevant times, Plaintiff, C.B., was enrolled in an elementary

            school within the Santa Rosa County School District.

     344. C.B. is a person with a disability protected by the Americans with

            Disabilities Act. As a minor child, C.B. brings this action through his

            mother and father and next of friends, A.B. and D.B.

     345. In Florida, district school boards may establish school resource officer

            programs, through a cooperative agreement with law enforcement

            agencies.

     346. During the school calendar year 2021-2022, school resource officers

            were required to be certified law enforcement officers; however, such


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             school resource officers are required to abide by district school board

             policies and are required to consult and coordinate activities through

             the school principal. See §1006.12 (1)(b), Florida Statutes (2017).

       347. By virtue of the provisions Section 1006.12, Florida Statutes pertaining

             to school resource officers, such officers – being under school board

             policies and coordinating their activities through the school principal –

             constitute school personnel under Florida law.22

       348. Deputy DANIELS was the assigned SRO for HIGH ROADS SCHOOL

             and was the SRO who interacted with C.B. on December 8, 2021. On

             said date, DANIELS was subject to school board policies and was

             required to consult and conduct his activities through the school

             principal.




22
  See K.P. v. State, 129 So. 3d 1121, 1131 (Fla. 3d DCA 2013); M.D. v. State, 65
So. 3d 563, 566 (Fla. 1st DCA 2011; C.M.M. v. State, 983 So. 2d 704, 705 (Fla. 5th
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     349. The SRO, the principal, the teachers and staff at the HIGH ROADS

            SCHOOL were school personnel under Florida law and are agents of

            the SCHOOL BOARD.

     350.   C.B. is a qualified individual with disabilities within the meaning of

            Title II of the ADA and meets the essential eligibility requirements for

            the receipt of services, programs, or activities of Defendants. Id. §

            12131(2). Through the acts and omissions set forth above, Defendant

            School Board violated Title II of the ADA and discriminated against

            Plaintiff C.B. by reason of her disability by:

            (a) Failing to reasonably modify the Defendant’s programs and

               services as needed to avoid discrimination against C.B.; and

            (b) Using methods of administration that have the effect of defeating or

               substantially impairing the accomplishment of the objectives of the

               Defendant School Board’s programs with respect to C.B.

     351. Students with disabilities, and particularly students with disabilities

            involving behavioral challenges, including C.B. are particularly



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            susceptible to being injured by the unnecessary use of physical

            restraints, including handcuffs, on the basis of disability. The effects on

            the students with disabilities include substantial and disproportionate

            physical and emotional injuries and disruptive exclusions from the

            school community.

     352. Instead of the unnecessary use of excessive force in physical restraints,

            including handcuffs, students with disabilities require reasonable

            modifications such as crisis intervention, de-escalation, patience, and

            waiting.

     353. Through its policies and practice of imposing unnecessary and

            excessive physical force in physical restraints, including handcuffs, on

            school children with disabilities, including plaintiff, Defendant,

            SCHOOL BOARD, has violated and continues to violate the ADA.

     354. Under these provisions, school resource officers like the Defendant

            DANIELS, may not discriminate on the basis of disability, and must




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                 provide reasonable modifications as needed during the interactions with

                 individuals with disabilities.

          355. On December 8, 2021, while in a classroom and while at school, C.B.

                 experienced disability-related difficulties in the nature of an autistic

                 meltdown.23 The episode was an event bought about by the child’s

                 severe autistic disorder and as such was an episode directly manifesting

                 his severe disability; and, the episode was not an event associated with

                 misbehavior or misconduct for which he was subject to being

                 disciplined. The child, while suffering from an episode associated with

                 his disability, was removed from his classroom and taken to the



23
  A meltdown is an intense response to an overwhelming situation.               It happens when
someone becomes completely overwhelmed by their current situation and temporarily loses
control of their behavior. This loss of control can be expressed verbally (eq shouting, screaming,
crying), physical (e.g., kicking, lashing out, biting) or in both ways. A meltdown is not the
same as a temper tantrum. It is not bad or naughty behavior. When a person is completely
overwhelmed, and their condition means it is difficult to express that in another way, it is
understandable that the result is a meltdown. Meltdowns are not the only way an autistic person
may express feeling overwhelmed. They may also refuse to interact, withdrawing from situations
they       find challenging       or       avoiding         them altogether.
https://www.autism.org.uk/advice-and-guidance/topics/behaviour/meltdowns/all- audiences



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            serenity room in the school where school personnel, including the

            SRO, physically abused the disabled student by the use of excessive

            physical restraint, forceful handcuffing, and excessive force causing

            physical and emotional injury and trauma. The use of such excessive

            force and harmful physical abuse was out of anger, animus or

            frustration on the part of school personnel (including the SRO) directed

            to the disabled student because the disabled child was incapable of

            following the directions of school personnel (including the SRO) due

            to his disability. The instance of violence carried out against C.B., for

            the reasons set forth herein, was not for the purpose of providing the

            C.B. with an adequate special education and was unlikely to involve the

            adequacy of a special education.

     356. The physical abuse to which the C.B. was subjected was done out of

            animus and frustration and was done in such a fashion so as to cause

            physical injuries and emotional trauma to the C.B..




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     357. After the autistic meltdown, C.B. was handcuffed, placed in the back

            of a police car, and transported to West Florida Hospital (a mental

            health receiving facility located in Escambia County), wherein               a

            physician examined C.B. and determined that he did not meet the

            requirements to be Baker Acted and discharged him.

     358. While being physically abused, C.B. was physically injured;

            manifested and expressed pain; and, experienced mental suffering and

            anguish along with emotional distress. Furthermore, C.B.’s mental,

            emotional, and psychological conditions associated with his autism

            became exacerbated.

     359. The use of excessive and abusive physical force and restraint, including

            the use of mechanical restraints and handcuffs by school personnel

            (including the SRO) occurred because the School Board policies and

            practices permitted the same. Further, at no point during the interaction

            between C.B. and school personnel (including the SRO) was there an

            imminent danger of physical harm or “direct threat” to Plaintiff or to



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            anyone else that required the use of excessive and abusive force and

            harm to C.B.. There was not a “direct threat” justification for use of

            excessive and abusive physical restraint and placement of handcuffs on

            the Plaintiff.

     360. C.B. experienced physical pain, physical injury and significant

            emotional distress during the interaction between the Plaintiff and

            school personnel (including the SRO). As a result of the excessive

            force, handcuffing, and physical abuse of C.B., he suffered and

            continues to suffer emotional distress for which he is entitled to money

            damages as compensatory damages for his past harm arising out of the

            physical abuse he experienced.

     361. DANIEL’s and SCHOOL BOARD actions herein were in violation of

            Section 1003.573, Florida Statutes and constitute deliberate

            indifference.

     362. Further, and with deliberate indifference, Defendant, SCHOOL

            BOARD failed to implement the nondiscrimination and regional



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            modification requirements of the ADA through its policies, practices,

            procedures, and trainings, and instead authorized school resource

            officers such as Defendant Daniels to engage in disability

            discrimination against plaintiff.

     363. As a proximate result of the actions and interactions of the Defendant,

            SCHOOL BOARD, and its agents, C.B. suffered and continues to

            suffer physical pain, emotional pain, psychological injury, trauma and

            suffering. C.B. continues to experience fear, distrust, and anxiety

            regarding school and law enforcement officers such as DANIELS.

     364. Through the acts and omissions set forth herein, Defendants, SCHOOL

            BOARD, also violated Title II of the ADA and discriminated against

            LITTLE B by reason of his disability by:

            a)    Denying C.B. an opportunity to participate in and benefit from

                  education services equal to that afforded to other students;




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            b)    Putting C.B. at risk of denial of the opportunity to receive

                  educational programs and services in the most integrated setting

                  appropriate to his needs;

            c)    Failing to reasonably modify policies and procedures as needed

                  to avoid discrimination against C.B.;

            d)    Using methods of administration that have the effect of defeating

                  or substantially impairing the accomplishment of the objectives

                  of the Defendants’ programs with respect to the Plaintiffs; and

            e)    Excluding or otherwise denying equal services, programs, or

                  activities to C.B. because of his disabilities.

     365. C.B. did not and does not pose a significant risk to the health or safety

            of others, or any risk posed could have been or could be eliminated by

            the provision of reasonable accommodations and/or non-discriminatory

            services.




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     366. Thus, Defendant, SCHOOL BOARD, has deprived C.B. and has placed

            him at significant risk of further deprivation of participation in or the

            benefits of services, programs, or activities of a public entity.

     367. Defendant,      SCHOOL         BOARD,         has     demonstrated   deliberate

            indifference, in that it was aware of substantially likely harm to

            LITTLE B’s federally protected rights under Title II of the ADA and

            failed to act upon that likelihood.

     368. Alternatively, Defendant, SCHOOL BOARD, has acted with the intent

            or reckless disregard to discriminate against C.B.

     369. As a result of Defendant, SCHOOL BOARD’s violations, C.B. has

            suffered and is at significant risk of suffering irreparable harm,

            including substantial loss of educational opportunities, and there is no

            adequate remedy at law.

     370. Due to Defendant’s, SCHOOL BOARD, ongoing violations of Title II

            of the ADA, injunctive relief, declaratory relief, and damages are

            appropriate remedies.



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      371. Additionally, Plaintiff is entitled to recover attorney’s fees and costs.

      WHEREFORE, Plaintiff, C.B., a minor child, by and through his parents and

next of friends, A.B. and D.B., request that this Court enter judgment in their favor,

and against SCHOOL BOARD, and grant the following relief:

           a.      Adjudge and declare that Defendant, SCHOOL BOARD’s

    actions, policies, practices, and interactions as described herein violate the

    American With Disabilities Act;

           b.      Issue an Order enjoining SCHOOL BOARD from engaging in

    the unlawful conduct complained of herein;

           c.      Award actual and compensatory damages for harms suffered due

    to Defendant’s actions as alleged herein;

             d.    Award Plaintiffs’ attorneys fees and cost.

             e.    Award any such relief as the Court deems just.

                           COUNT XI
      VIOLATION OF THE FLORIDA EDUCATION EQUITY ACT
(By LITTLE B Against CAMELOT SCHOOLS OF FLORIDA, LLC d/b/a HIGH
                  ROAD SCHOOL OF SANTA ROSA)




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     372. Plaintiff, LITTLE B, realleges and incorporates paragraphs one (1)

            through seventy-five (75), paragraphs seventy-nine (79) though one

            hundred sixty-seven (167), and paragraphs three hundred five (305)

            through three hundred thirty six (336) above as if fully set forth herein.

     373. The Florida Educational Equity Act (“FEEA”) prohibits discrimination

            “on the basis of race, ethnicity, national origin, gender, disability,

            religion, or marital status against a student or an employee in the state

            system of public K-20 education.” Fla. Stat. § 1000.05(3)(d).

     374. By reason of his disabilities, LITTLE B is subjected to discrimination

            by Defendant, CAMELOT SCHOOLS OF FLORIDA, LLC, who

            inappropriately and unlawfully permitted and allowed LITTLE B and

            other students to be inappropriately and unlawfully subjected to the

            Baker Act.

     375. By failing to establish appropriate safeguards to prevent the Baker Act

            from being used inappropriately against students with disabilities and

            by failing to establish appropriate safeguards to prevent handcuffing



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             from being used inappropriately against students with disabilities,

             including LITTLE B, Defendant, CAMELOT SCHOOLS OF

             FLORIDA, LLC acted with deliberate indifference, in violation of the

             FEEA.

      376. As a result of Defendant, CAMELOT SCHOOLS OF FLORIDA,

             LLC.’s violations, LITTLE B has suffered and is at significant risk of

             suffering irreparable harm, including substantial losses of educational

             opportunities, and he has no adequate remedy at law.

      377. Due to Defendant, CAMELOT SCHOOLS OF FLORIDA, LLC.’s

             ongoing violations of the FEEA, injunctive and declaratory relief are

             appropriate remedies. LITTLE B is also entitled to attorneys' fees

             and costs.

      WHEREFORE, Plaintiff, LITTLE B, a minor child, by and through his

parents and next of friends, M.F. and C.F., request that this Court enter judgment in

their favor, and against CAMELOT SCHOOLS OF FLORIDA, LLC d/b/a HIGH

ROAD SCHOOL OF SANTA ROSA, and grant the following relief:



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            a.    Adjudge and declare that Defendants, CAMELOT SCHOOLS

      OF FLORIDA, LLC d/b/a HIGH ROAD SCHOOL OF SANTA ROSA’s

      actions, policies, practices, and interactions as described herein violate the

      Florida Educational Equity Act (“FEEA”);

            b.    Issue an Order enjoining CAMELOT SCHOOLS OF FLORIDA,

      LLC d/b/a HIGH ROAD SCHOOL OF SANTA ROSA COUNTY from

      engaging in the unlawful conduct complained of herein;

            c.    Award actual and compensatory damages for harms suffered due

      to Defendant’s actions as alleged herein;

            d.    Award Plaintiff’s Counsel reasonable attorneys’ fees and cost;

            e.    Award such other relief as the Court deems proper and just.

                           COUNT XII
      VIOLATION OF THE FLORIDA EDUCATION EQUITY ACT
              (By LITTLE B Against SCHOOL BOARD)

     378. Plaintiff, LITTLE B, realleges and incorporates paragraphs one (1)

            through seventy-five (75), paragraphs seventy-nine (79) though one




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            hundred sixty-seven (167), and paragraphs three hundred five (305)

            through three hundred thirty six (336) above as if fully set forth herein

     379. The Florida Educational Equity Act (“FEEA”) prohibits discrimination

            “on the basis of race, ethnicity, national origin, gender, disability,

            religion, or marital status against a student or an employee in the state

            system of public K-20 education.” Fla. Stat. § 1000.05(3)(d).

     380. By reason of his disabilities, LITTLE B is subjected to discrimination

            by Defendant, SCHOOL BOARD, who have inappropriately and

            unlawfully permit and allow LITTLE B and other students to be

            inappropriately and unlawfully subjected to the Baker Act.

     381. By failing to establish appropriate safeguards to prevent the Baker Act

            from being used inappropriately against students with disabilities and

            by failing to establish appropriate safeguards to prevent handcuffing

            from being used inappropriately against students with disabilities,

            including LITTLE B, Defendant, SCHOOL BOARD acted with

            deliberate indifference, in violation of the FEEA.



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      382. As a result of Defendant, SCHOOL BOARD’s violations, LITTLE B

             has suffered and is at significant risk of suffering irreparable harm,

             including substantial losses of educational opportunities, and he has no

             adequate remedy at law.

      383. Due to Defendants’ ongoing violations of the FEEA, injunctive and

             declaratory relief are appropriate remedies. LITTLE B is also entitled

             to attorneys' fees and costs.

      WHEREFORE, Plaintiff, LITTLE B, a minor child, by and through his

parents and next of friends, M.F. and C.F., request that this Court enter judgment in

their favor, and against SCHOOL BOARD, and grant the following relief:

      a.     Adjudge and declare that Defendant, SCHOOL BOARD OF SANTA

             ROSA COUNTY’s actions, policies, practices, and interactions as

             described herein violate the Florida Educational Equity Act (“FEEA”);

      b.     Issue an Order enjoining SCHOOL BOARD from engaging in the

             unlawful conduct complained of herein;




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      c.     Award actual and compensatory damages for harms suffered due to

             Defendant’s actions as alleged herein;

      d.     Award Plaintiff’s Counsel reasonable attorneys fees and cost;

      e.     Award such other relief as the Court deems proper and just.

                           COUNT XIII
      VIOLATION OF THE FLORIDA EDUCATION EQUITY ACT
(By C.B. Against CAMELOT SCHOOLS OF FLORIDA, LLC d/b/a HIGH ROAD
                      SCHOOL OF SANTA ROSA)

     384.    Plaintiff, C.B., realleges and incorporates one (1) through seventy-five

             (75), paragraphs seventy-nine (79) though one hundred sixty-seven

             (167), and paragraphs three hundred thirty-nine (339) through three

             hundred seventy (370) above as if set forty fully herein.

      385. The Florida Educational Equity Act (“FEEA”) prohibits discrimination

             “on the basis of race, ethnicity, national origin, gender, disability,

             religion, or marital status against a student or an employee in the state

             system of public K-20 education.” Fla. Stat. § 1000.05(3)(d).

      386. By reason of his disabilities, C.B. is subjected to discrimination by

             Defendant, CAMELOT SCHOOLS OF FLORIDA, LLC, who

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            inappropriately and unlawfully permitted and allowed C.B. and other

            students to be inappropriately and unlawfully subjected to the Baker

            Act.

     387. By failing to establish appropriate safeguards to prevent the Baker Act

            from being used inappropriately against students with disabilities and

            by failing to establish appropriate safeguards to prevent handcuffing

            from being used inappropriately against students with disabilities,

            including C.B., Defendant, CAMELOT SCHOOLS OF FLORIDA,

            LLC acted with deliberate indifference, in violation of the FEEA.

     388. As a result of Defendant, CAMELOT SCHOOLS OF FLORIDA,

            LLC.’s violations, C.B. has suffered and is at significant risk of

            suffering irreparable harm, including substantial losses of educational

            opportunities, and he has no adequate remedy at law.

     389. Due to Defendant, CAMELOT SCHOOLS OF FLORIDA, LLC’s

            ongoing violations of the FEEA, injunctive and declaratory relief are




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             appropriate remedies. Plaintiff is also entitled to attorneys' fees and

             costs.

    WHEREFORE, Plaintiff, C.B., a minor child, by and through his parents and

next of friends, A.B. and D.B., request that this Court enter judgment in their favor,

and against CAMELOT SCHOOLS OF FLORIDA, LLC d/b/a HIGH ROAD

SCHOOL OF SANTA ROSA, and grant the following relief:

           a.      Adjudge and declare that Defendants, CAMELOT SCHOOLS

    OF FLORIDA, LLC d/b/a HIGH ROAD SCHOOL OF SANTA ROSA’s

    actions, policies, practices, and interactions as described herein violate the

    Florida Educational Equity Act (“FEEA”);

           b.      Issue an Order enjoining CAMELOT SCHOOLS OF FLORIDA,

    LLC d/b/a HIGH ROAD SCHOOL OF SANTA ROSA COUNTY from

    engaging in the unlawful conduct complained of herein;

           c.      Award actual and compensatory damages for harms suffered due

    to Defendant’s actions as alleged herein;

           d.      Award Plaintiff’s Counsel reasonable attorneys fees and cost;



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          e.      Award such other relief as the Court deems proper and just.

                          COUNT XIV
      VIOLATION OF THE FLORIDA EDUCATION EQUITY ACT
                (By C.B. Against SCHOOL BOARD)

     390. Plaintiff, C.B., realleges and incorporates one (1) through seventy-five

            (75), paragraphs seventy-nine (79) though one hundred sixty-seven

            (167), and paragraphs three hundred thirty-nine (339) through three

            hundred seventy (370) above as if set forty fully herein.

     391. The Florida Educational Equity Act (“FEEA”) prohibits discrimination

            “on the basis of race, ethnicity, national origin, gender, disability,

            religion, or marital status against a student or an employee in the state

            system of public K-20 education.” Fla. Stat. § 1000.05(3)(d).

     392. By reason of his disabilities, C.B. is subjected to discrimination by

            Defendant, SCHOOL BOARD, who inappropriately and unlawfully

            permit and allow C.B. and other students to be inappropriately and

            unlawfully subjected to the Baker Act.




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      393. By failing to establish appropriate safeguards to prevent the Baker Act

             from being used inappropriately against students with disabilities and

             by failing to establish appropriate safeguards to prevent handcuffing

             from being used inappropriately against students with disabilities,

             including C.B., Defendant, SCHOOL BOARD acted with deliberate

             indifference, in violation of the FEEA.

      394. As a result of Defendant, SCHOOL BOARD’s violations, C.B. has

             suffered and is at significant risk of suffering irreparable harm,

             including substantial losses of educational opportunities, and he has no

             adequate remedy at law.

      395. Due to Defendant’s ongoing violations of the FEEA, injunctive and

             declaratory relief are appropriate remedies. Plaintiff is also entitled to

             attorneys' fees and costs.

      WHEREFORE, Plaintiff, C.B., a minor child, by and through his parents and

next of friends, M.F. and C.F., request that this Court enter judgment in their favor,




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and against Defendant, SCHOOL BOARD OF SANTA ROSA COUNTY, and grant

the following relief:

      a.     Adjudge and declare that Defendant, SCHOOL BOARD’s actions,

             policies, practices, and interactions as described herein violate the

             Florida Educational Equity Act (“FEEA”);

      b.     Issue an Order enjoining SCHOOL BOARD from engaging in the

             unlawful conduct complained of herein;

      c.     Award actual and compensatory damages for harms suffered due to

             Defendant’s actions as alleged herein;

      d.     Award Plaintiff’s Counsel reasonable attorneys fees and cost;

      e.     Award such other relief as the Court deems proper and just.



                               COUNT XV
  § 1983 Procedural Due Process Claim for Deprivation of Parental Right to
                           Custody and Control
               (By M.F. and C.F. Against SCHOOL BOARD,)




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     396. Plaintiffs, M.F. and C.F., realleges and incorporates one (1) through

            seventy-five (75), and paragraphs seventy-nine (79) though one

            hundred sixty-seven (167), above as if fully set forth herein.

     397. Parents have a fundamental right to the care, custody, and control of

            their children.

     398. Parents cannot be deprived of this fundamental right without

            constitutionally sufficient due process               under the Fourteenth

            Amendment.

     399. Plaintiff M.F. and C.F. brings this claim against Defendant, SCHOOL

            BOARD, because SCHOOL BOARD’S employees, contractors, and

            school resource officers took LITTLE B into their custody and

            transported him to a receiving facility, where they were initially denied

            contact with his parents, without notifying or seeking consent form his

            parents.




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     400. No actual or perceived emergency existed that would justify

            Defendants depriving LITTLE B’s parents of their fundamental rights

            without due process protections.

     401. The failure to provide any type of notice or consent requirement prior

            to removing LITTLE B from his parents’ custody and control is

            constitutionally insufficient and violates M.F.’s and C.F.’s due process

            rights.

     402. These violations of M.F.’s and C.F.’s rights by School Resource

            Officers or police officers working in Santa Rosa County schools were

            the result of longstanding policies adopted by, ratified by, acquiesced

            to and endorsed by Defendant, SCHOOL BOARD, and its

            predecessors. SCHOOL BOARD’S Baker Act policies still do not

            provide that parents need to be asked for their opinion, let alone

            consent, about whether their children should be sent for involuntarily

            examination.




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     403. These violations were also the result of those Defendant’s failure to

            supervise and train School Resource Officer, employees, and

            contractors to seek parental consent before initiating a Baker Act

            examination. Despite being aware that hundreds of children were being

            Baker Acted and that many of those Baker Acts could be prevented by

            contacting children’s parents, Defendants failed to train their officers to

            do so.

     404. These violations interfered with LITTLE B’s parents’ relationship with

            him when he needed them most. This caused LITTLE B’s parents and

            LITTLE B great distress. Without adequate relief Plaintiffs are at

            significant risk of suffering similar harms in the future.

     405. Due to Defendants’ ongoing violations of the Fourteenth Amendment

            and the U.S. Constitution, injunctive and declaratory relief is an

            appropriate remedy.

     406. Plaintiffs, M.F. and C.F., are entitled to compensatory damages,

            injunctive relief, declaratory relief and attorneys' fees and costs.



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      WHEREFORE, Plaintiffs, M.F. and C.F., request that this Court enter

judgment in their favor, and against Defendant, SCHOOL BOARD OF SANTA

ROSA COUNTY, and grant the following relief:

             a.    Adjudge and declare that Defendant, SCHOOL BOARD’s

                   actions, policies, practices, and interactions as described herein

                   violate the U.S. Constitution;

             b.    Issue an Order enjoining Defendant from engaging in the

                   unlawful conduct complained of herein;

             c.    Award actual and compensatory damages for harms suffered

                   due to Defendant’s actions as alleged herein;

             d.    Award Plaintiff’s Counsel reasonable attorneys fees and cost;

             e.    Award such other relief as the Court deems proper and just.

                              COUNT XVI
 § 1983 Procedural Due Process Claims for Control Over Medical Decision-
                Making Under the Fourteenth Amendment
              (By M.F. and C.F. Against SCHOOL BOARD)

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     407. Plaintiffs, M.F. and C.F., re-allege and incorporate paragraphs one (1)

            through seventy-five (75), and paragraphs seventy-nine (79) though

            one hundred sixty-seven (167), above as if fully set forth herein.

     408. Parents have a fundamental right to the care, custody, and control of the

            medical decisions of their children.

     409. Parents cannot be deprived of this fundamental right without

            constitutionally sufficient due process             under the   Fourteenth

            Amendment.

     410. Plaintiff M.F. and C.F. bring this claim against Defendant, SCHOOL

            BOARD, because SCHOOL BOARD’s employees and contractors

            initiated involuntary examinations of LITTLE B under the Baker Act

            without notifying or seeking consent from his parents, and/or over the

            parents objections.

     411. No actual or perceived emergency existed that would justify

            Defendants depriving LITTLE B’s parents of their fundamental rights

            without any due process protections.



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     412. The failure to provide any type of notice or consent requirement prior

            to employing the Baker Act on a child in this situation is

            unconstitutional and violates M.F. and C.F.’s procedural due process

            rights.

     413. These violations of M.F. and C.F.’s rights by police officers and

            employees or contractors working in Santa Rosa County schools were

            the result of longstanding SCHOOL BOARD’s policies adopted by,

            ratified by, acquiesced to and endorsed by Defendant, and its

            predecessors. SCHOOL BOARD’S policies still do not provide that

            parents need to be asked for their opinion, let alone consent, about

            whether their children should be sent for involuntarily examination.

     414. These violations were also the result of those Defendant’s failure to

            supervise and train its employees and contractors to seek parental

            consent before initiating a Baker Act examination. Despite being aware

            that hundreds of children were being seized for involuntary

            examination under the Baker Act and that many of those Baker Acts



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             could be prevented by contacting children’s parents, Defendant failed

             to train their officers or contractors to do so.

      415. These violations interfered with LITTLE B’s parents’ ability to make

             the best medical decisions for their child, harming the interests of both

             parents and child in ensuring that children’s medical needs are met

             adequately. Without adequate relief M.F. and C.F. are at significant risk

             of suffering similar harms in the future.

      416. Due to Defendant’s ongoing violations of the Fourteenth Amendment,

             injunctive and declaratory relief are appropriate remedies.

      417. Plaintiffs, M.F. and C.F., are entitled to compensatory damages,

             injunctive relief, declaratory relief and attorneys' fees and

             costs.

      WHEREFORE, Plaintiffs, M.F. and C.F., request that this Court enter

judgment in their favor, and against Defendant, SCHOOL BOARD OF SANTA

ROSA COUNTY, and grant the following relief:




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     a.     Adjudge and declare that Defendants, SCHOOL BOARD’S actions,

            policies, practices, and interactions as described herein violate the U.S.

            Constitution;

     b.     Issue an Order enjoining SCHOOL BOARD, from engaging in the

            unlawful conduct complained of herein;

     c.     Award actual and compensatory damages for harms suffered due to

            Defendants’ actions as alleged herein;

     d.     Award Plaintiffs’ Counsel reasonable attorneys fees and cost;

     e.     Award such other relief as the Court deems proper and just.

                            COUNT XIX
§ 1983 Procedural Due Process Claim for Deprivation of Parental Right to
                         Custody and Control
                (By M.F. and C.F. Against CAMELOT)

     418. Plaintiff, M.F. and C.F., re-allege and incorporate realleges and

            incorporates paragraphs one (1) through seventy-five (75), and

            paragraphs seventy-nine (79) though one hundred sixty-seven (167),

            above as if fully set forth herein.




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     419. Parents have a fundamental right to the care, custody, and control of

            their children.

     420. Parents cannot be deprived of this fundamental right without

            constitutionally sufficient due process               under the Fourteenth

            Amendment.

     421. Plaintiff M.F. and C.F. brings this claim against Defendant,

            CAMELOT, because CAMELOT’S employees, contractors, and

            school resource officers took LITTLE B into their custody and

            transported him to a receiving facility, where they were initially denied

            contact with his parents, without notifying or seeking consent form his

            parents.

     422. No actual or perceived emergency existed that would justify

            Defendants depriving LITTLE B’s parents of their fundamental rights

            without due process protections.

     423. The failure to provide any type of notice or consent requirement prior

            to removing LITTLE B from his parents’ custody and control is



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            constitutionally insufficient and violates M.F.’s and C.F.’s due process

            rights.

     424. These violations of M.F.’s and C.F.’s rights by School Resource

            Officers or police officers working in Santa Rosa County schools were

            the result of longstanding policies adopted by, ratified by, acquiesced

            to and endorsed by Defendant, CAMELOT, and its predecessors.

            CAMELOT’S Baker Act policies still do not provide that parents need

            to be asked for their opinion, let alone consent, about whether their

            children should be sent for involuntarily examination.

     425. These violations were also the result of those Defendant’s failure to

            supervise and train School Resource Officer, employees, and

            contractors to seek parental consent before initiating a Baker Act

            examination. Despite being aware that hundreds of children were being

            Baker Acted and that many of those Baker Acts could be prevented by

            contacting children’s parents, Defendants failed to train their officers to

            do so.



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      426. These violations interfered with LITTLE B’s parents’ relationship with

             him when he needed them most. This caused LITTLE B’s parents and

             LITTLE B great distress. Without adequate relief Plaintiffs are at

             significant risk of suffering similar harms in the future.

      427. Due to Defendants’ ongoing violations of the Fourteenth Amendment

             and the U.S. Constitution, injunctive and declaratory relief is an

             appropriate remedy.

      428. Plaintiffs, M.F. and C.F., are entitled to compensatory damages,

             injunctive relief, declaratory relief and attorneys' fees and costs.

      WHEREFORE, Plaintiffs, M.F. and C.F., request that this Court enter

judgment in their favor, and against CAMELOT, and grant the following relief:

             a.    Adjudge and declare that Defendants, CAMELOT actions,

                   policies, practices, and interactions as described herein violate

                   the U.S. Constitution;

             b.    Issue an Order enjoining Defendant from engaging in the

                   unlawful conduct complained of herein;



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            c.    Award actual and compensatory damages for harms suffered

                  due to Defendant’s actions as alleged herein;

            d.    Award Plaintiff’s Counsel reasonable attorneys fees and cost;

            e.    Award such other relief as the Court deems proper and just.

                             COUNT XX
§ 1983 Procedural Due Process Claims for Control Over Medical Decision-
              Making Under the Fourteenth Amendment
                (By M.F. and C.F. Against CAMELOT)

     429. Plaintiff, M.F. and C.F., re-allege and incorporate paragraphs one (1)

            through seventy-five (75), and paragraphs seventy-nine (79) though

            one hundred sixty-seven (167), above as if fully set forth herein.

     430. Parents have a fundamental right to the care, custody, and control of the

            medical decisions of their children.

     431. Parents cannot be deprived of this fundamental right without

            constitutionally sufficient due process             under the Fourteenth

            Amendment.

     432. Plaintiff M.F. and C.F. bring this claim against Defendant, CAMELOT,

            because CAMELOT’s employees and contractors initiated involuntary

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            examinations of LITTLE B under the Baker Act without notifying or

            seeking consent from his parents, and/or over the parents objections.

     433. No actual or perceived emergency existed that would justify

            Defendants depriving LITTLE B’s parents of their fundamental rights

            without any due process protections.

     434. The failure to provide any type of notice or consent requirement prior

            to employing the Baker Act on a child in this situation is

            unconstitutional and violates M.F. and C.F.’s procedural due process

            rights.

     435. These violations of M.F. and C.F.’s rights by police officers and

            employees or contractors working in Santa Rosa County schools were

            the result of longstanding CAMELOT’s policies adopted by, ratified

            by, acquiesced to and endorsed by Defendant, and its predecessors.

            CAMELOT’S policies still do not provide that parents need to be asked

            for their opinion, let alone consent, about whether their children should

            be sent for involuntarily examination.



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     436. These violations were also the result of those Defendant’s failure to

            supervise and train its employees and contractors to seek parental

            consent before initiating a Baker Act examination. Despite being aware

            that hundreds of children were being seized for involuntary

            examination under the Baker Act and that many of those Baker Acts

            could be prevented by contacting children’s parents, Defendant failed

            to train their officers or contractors to do so.

     437. These violations interfered with LITTLE B’s parents’ ability to make

            the best medical decisions for their child, harming the interests of both

            parents and child in ensuring that children’s medical needs are met

            adequately. Without adequate relief M.F. and C.F. are at significant risk

            of suffering similar harms in the future.

     438. Due to Defendant’s ongoing violations of the Fourteenth Amendment,

            injunctive and declaratory relief are appropriate remedies.




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      439. Plaintiffs, M.F. and C.F., are entitled to compensatory damages,

             injunctive relief, declaratory relief and attorneys' fees and

             costs.

      WHEREFORE, Plaintiffs, M.F. and C.F., request that this Court enter

judgment in their favor, and against CAMELOT, and grant the following relief:

      a.     Adjudge and declare that Defendants, CAMELOT’S actions, policies,

             practices, and interactions as described herein violate the U.S.

             Constitution;

      b.     Issue an Order enjoining CAMELOT, from engaging in the unlawful

             conduct complained of herein;

      c.     Award actual and compensatory damages for harms suffered due to

             Defendants’ actions as alleged herein;

      d.     Award Plaintiffs’ Counsel reasonable attorneys fees and cost;

      e.     Award such other relief as the Court deems proper and just.

                              COUNT XXI
  § 1983 Procedural Due Process Claim for Deprivation of Parental Right to
                           Custody and Control
                  (By A.B. and D.B. Against JOHNSON)

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     440. Plaintiffs, A.B. and D.B., reallege and incorporate one (1) through

            seventy-five (75), and paragraphs seventy-nine (79) though one

            hundred sixty-seven (167), above as if fully set forth herein.

     441. Parents have a fundamental right to the care, custody, and control of

            their children.

     442. Parents cannot be deprived of this fundamental right without

            constitutionally sufficient due process               under the Fourteenth

            Amendment.

     443. Plaintiff A.B. and D.B. brings this claim against Defendant,

            JOHNSON, in his Official Capacity because JOHNSON’s employees

            and contracted school resource officer took C.B. into their custody and

            transported him to a receiving facility, where they were initially denied

            contact with his parents, without notifying or seeking consent form his

            parents.




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     444. No actual or perceived emergency existed that would justify

            Defendants depriving C.B.’s parents of their fundamental rights

            without due process protections.

     445. The failure to provide any type of notice or consent requirement prior

            to removing C.B. from his parents’ custody and control is

            constitutionally insufficient and violates A.B.‘s and D.B.’s due process

            rights.

     446. These violations of A.B.‘s and D.B.’s rights by School Resource

            Officers or police officers working in Santa Rosa County schools were

            the result of longstanding policies adopted by, ratified by, acquiesced

            to and endorsed by Defendant, JOHNSON, and his predecessors.

            JOHNSON’S Baker Act policies still provide that parents need not even

            be asked for their opinion, let alone consent, about whether their

            children should be sent for involuntarily examination.

     447. These violations were also the result of those Defendants’ failure to

            supervise and train School Resource Officer, employees, and



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             contractors to seek parental consent before initiating a Baker Act

             examination. Despite being aware that hundreds of children were being

             Baker Acted and that many of those Baker Acts could be prevented by

             contacting children’s parents, Defendants failed to train their officers to

             do so.

      448. These violations interfered with A.B.‘s and D.B.’s relationship with

             C.B. when he needed them most. This caused A.B. and D.B. and C.B.

             great distress. Without adequate relief Plaintiffs are at significant risk

             of suffering similar harms in the future.

      449. Due to Defendants’ ongoing violations of the Fourteenth Amendment

             and the U.S. Constitution, injunctive and declaratory relief is an

             appropriate remedy.

      450. Plaintiffs, A.B. and D.B., are entitled to compensatory damages,

             injunctive relief, declaratory relief and attorneys' fees and costs.

      WHEREFORE, Plaintiffs, A.B. and D.B., request that this Court enter

judgment in their favor, and against JOHNSON, in his Official Capacity, and grant



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the following relief:

             f.     Adjudge and declare that Defendants, JOHNSON, in his

                    Official Capacity, actions, policies, practices, and interactions

                    as described herein violate the U.S. Constitution;

             g.     Issue an Order enjoining Defendant from engaging in the

                    unlawful conduct complained of herein;

             h.     Award actual and compensatory damages for harms suffered

                    due to Defendant’s actions as alleged herein;

             i.     Award Plaintiff’s Counsel reasonable attorneys fees and cost;

             j.     Award such other relief as the Court deems proper and just.

                               COUNT XXII
  § 1983 Procedural Due Process Claims for Control Over Medical Decision-
                Making Under the Fourteenth Amendment
                   (By A.B. and D.B. Against JOHNSON)

      451. Plaintiffs, A.B. and D.B., re-allege and incorporate paragraphs one (1)

             through seventy-five (75), and paragraphs seventy-nine (79) though

             one hundred sixty-seven (167), above as if fully set forth herein.




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     452. Parents have a fundamental right to the care, custody, and control of the

            medical decisions of their children.

     453. Parents cannot be deprived of this fundamental right without

            constitutionally sufficient due process             under the Fourteenth

            Amendment.

     454. Plaintiffs, A.B. and D.B., bring this claim against Defendant,

            JOHNSON, in his Official Capacity, because JOHNSON’s employees

            and contractors initiated involuntary examinations of C.B. under the

            Baker Act without notifying or seeking consent from his parents, and/or

            over the parents objections.

     455. No actual or perceived emergency existed that would justify

            Defendants depriving C.B.’s parents of their fundamental rights

            without any due process protections.

     456. The failure to provide any type of notice or consent requirement prior

            to employing the Baker Act on a child in this situation is




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            unconstitutional and violates A.B. and D.B.’s procedural due process

            rights.

     457. These violations of A.B. and D.B.’s rights by police officers working

            in Santa Rosa County schools were the result of longstanding SHERIFF

            DEPARTMENT and JOHNSON’s policies adopted by, ratified by,

            acquiesced to and endorsed by Defendant, JOHNSON and his

            predecessors. JOHNSON’S policies still provide that parents need not

            even be asked for their opinion, let alone consent, about whether their

            children should be sent for involuntarily examination.

     458. These violations were also the result of those Defendants’ failure to

            supervise and train Santa Rosa County Sheriff’s Office employees and

            contractors to seek parental consent before initiating a Baker Act

            examination. Despite being aware that hundreds of children were being

            seized for involuntary examination under the Baker Act and that many

            of those Baker Acts could be prevented by contacting children’s

            parents, Defendants failed to train their officers to do so.



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      459. These violations interfered with C.B.’s parents’ ability to make the best

             medical decisions for their child, harming the interests of both parents

             and child in ensuring that children’s medical needs are met adequately.

             Without adequate relief A.B. and D.B. are at significant risk of

             suffering similar harms in the future.

      460. Due to Defendant’s ongoing violations of the Fourteenth Amendment,

             injunctive and declaratory relief are appropriate remedies.

      461. Plaintiffs, A.B. and D.B., are entitled to compensatory damages,

             injunctive relief, declaratory relief and attorneys' fees and

             costs.

      WHEREFORE, Plaintiffs, A.B. and D.B., request that this Court enter

judgment in their favor, and against JOHNSON, in his Official Capacity, , and grant

the following relief:

      a.     Adjudge and declare that Defendants, JOHNSON, in his Official

             Capacity, actions, policies, practices, and interactions as described

             herein violate the U.S. Constitution;



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     b.     Issue an Order enjoining JOHNSON, from engaging in the unlawful

            conduct complained of herein;

     c.     Award actual and compensatory damages for harms suffered due to

            Defendants’ actions as alleged herein;

     d.     Award Plaintiffs’ Counsel reasonable attorneys fees and cost;

     e.     Award such other relief as the Court deems proper and just.



                            COUNT XXIII
§ 1983 Procedural Due Process Claim for Deprivation of Parental Right to
                         Custody and Control
            (By A.B. and D.B. Against SCHOOL DISTRICT)

     462. Plaintiffs, A.B. and D.B., reallege and incorporate one (1) through

            seventy-five (75), and paragraphs seventy-nine (79) though one

            hundred sixty-seven (167), above as if fully set forth herein.

     463. Parents have a fundamental right to the care, custody, and control of

            their children.




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     464. Parents cannot be deprived of this fundamental right without

            constitutionally sufficient due process               under the Fourteenth

            Amendment.

     465. Plaintiff A.B. and D.B. brings this claim against Defendant, SCHOOL

            BOARD, because SCHOOL BOARD’S employees, contractors, and

            school resource officers took C.B. into their custody and transported

            him to a receiving facility, where they were initially denied contact with

            his parents, without notifying or seeking consent form his parents.

     466. No actual or perceived emergency existed that would justify

            Defendants depriving C.B.’s parents of their fundamental rights

            without due process protections.

     467. The failure to provide any type of notice or consent requirement prior

            to removing C.B. from his parents’ custody and control is

            constitutionally insufficient and violates A.B.’s and D.B.’s           due

            process rights.




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     468. These violations of A.B.’s and D.B.’s rights by School Resource

            Officers or police officers working in Santa Rosa County schools were

            the result of longstanding policies adopted by, ratified by, acquiesced

            to and endorsed by Defendant, SCHOOL BOARD, and its

            predecessors. SCHOOL BOARD’S Baker Act policies still do not

            provide that parents need to be asked for their opinion, let alone

            consent, about whether their children should be sent for involuntarily

            examination.

     469. These violations were also the result of those Defendant’s failure to

            supervise and train School Resource Officer, employees, and

            contractors to seek parental consent before initiating a Baker Act

            examination. Despite being aware that hundreds of children were being

            Baker Acted and that many of those Baker Acts could be prevented by

            contacting children’s parents, Defendants failed to train their officers to

            do so.




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      470. These violations interfered with C.B.’s parents’ relationship with him

             when he needed them most. This caused C.B.’s parents and C.B. great

             distress. Without adequate relief Plaintiffs are at significant risk of

             suffering similar harms in the future.

      471. Due to Defendants’ ongoing violations of the Fourteenth Amendment

             and the U.S. Constitution, injunctive and declaratory relief is an

             appropriate remedy.

      472. Plaintiffs, A.B. and D.B., are entitled to compensatory damages,

             injunctive relief, declaratory relief and attorneys' fees and costs.

      WHEREFORE, Plaintiffs, A.B. and D.B., request that this Court enter

judgment in their favor, and against Defendant, SCHOOL BOARD OF SANTA

ROSA COUNTY, and grant the following relief:

             a.    Adjudge and declare that SCHOOL BOARD actions, policies,

                   practices, and interactions as described herein violate the U.S.

                   Constitution;

             b.    Issue an Order enjoining Defendant from engaging in the



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                  unlawful conduct complained of herein;

            c.    Award actual and compensatory damages for harms suffered

                  due to Defendant’s actions as alleged herein;

            d.    Award Plaintiff’s Counsel reasonable attorneys fees and cost;

            e.    Award such other relief as the Court deems proper and just.

                            COUNT XXIV
§ 1983 Procedural Due Process Claims for Control Over Medical Decision-
               Making Under the Fourteenth Amendment
            (By A.B. and D.B. Against SCHOOL DISTRICT)



     473. Plaintiffs, A.B. and D.B., re-allege and incorporate paragraphs one (1)

            through seventy-five (75), and paragraphs seventy-nine (79) though

            one hundred sixty-seven (167), above as if fully set forth herein.

     474. Parents have a fundamental right to the care, custody, and control of the

            medical decisions of their children.

     475. Parents cannot be deprived of this fundamental right without

            constitutionally sufficient due process             under the Fourteenth

            Amendment.

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     476.   Plaintiff A.B. and D.B. bring this claim against Defendant SCHOOL

            BOARD, because SCHOOL BOARD’s employees and contractors

            initiated involuntary examinations of C.B. under the Baker Act without

            notifying or seeking consent from his parents, and/or over the parents

            objections.

     477. No actual or perceived emergency existed that would justify

            Defendants depriving C.B.’s parents of their fundamental rights

            without any due process protections.

     478. The failure to provide any type of notice or consent requirement prior

            to employing the Baker Act on a child in this situation is

            unconstitutional and violates A.B. and D.B.’s procedural due process

            rights.

     479. These violations of A.B. and D.B.’s rights by police officers and

            employees or contractors working in Santa Rosa County schools were

            the result of longstanding SCHOOL BOARD’s policies adopted by,

            ratified by, acquiesced to and endorsed by Defendant, and its



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            predecessors. SCHOOL BOARD’S policies still do not provide that

            parents need to be asked for their opinion, let alone consent, about

            whether their children should be sent for involuntarily examination.

     480. These violations were also the result of those Defendant’s failure to

            supervise and train its employees and contractors to seek parental

            consent before initiating a Baker Act examination. Despite being aware

            that hundreds of children were being seized for involuntary

            examination under the Baker Act and that many of those Baker Acts

            could be prevented by contacting children’s parents, Defendant failed

            to train their officers or contractors to do so.

     481. These violations interfered with C.B.’s parents’ ability to make the best

            medical decisions for their child, harming the interests of both parents

            and child in ensuring that children’s medical needs are met adequately.

            Without adequate relief A.B. and D.B. are at significant risk of

            suffering similar harms in the future.




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      482. Due to Defendant’s ongoing violations of the Fourteenth Amendment,

             injunctive and declaratory relief are appropriate remedies.

      483. Plaintiffs, A.B. and D.B., are entitled to compensatory damages,

             injunctive relief, declaratory relief and attorneys' fees and

             costs.

      WHEREFORE, Plaintiffs, A.B. and D.B., request that this Court enter

judgment in their favor, and against Defendant, SCHOOL BOARD OF SANTA

ROSA COUNTY, and grant the following relief:

      a.     Adjudge and declare that Defendant, SCHOOL BOARD’S actions,

             policies, practices, and interactions as described herein violate the U.S.

             Constitution;

      b.     Issue an Order enjoining SCHOOL BOARD, from engaging in the

             unlawful conduct complained of herein;

      c.     Award actual and compensatory damages for harms suffered due to

             Defendants’ actions as alleged herein;

      d.     Award Plaintiffs’ Counsel reasonable attorneys fees and cost;



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     e.     Award such other relief as the Court deems proper and just.



                PLAINTIFF DEMANDS A TRIAL BY JURY.


                                        Respectfully submitted,

                                        /s/ Jeremiah J. Talbott
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